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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

              Plaintiffs,

       v.                                          Case No. 18-cv-00068
UNITED STATES OF AMERICA, et al.,

              Defendants,

KARLA PEREZ, et al.,

              Defendant-Intervenors,

and

STATE OF NEW JERSEY,

              Defendant-Intervenor.


         FEDERAL DEFENDANTS’ OPPOSITION IN RESPONSE TO
DEFENDANT-INTERVENOR STATE OF NEW JERSEY’S MOTION TO STRIKE OR,
        IN THE ALTERNATIVE, COMPEL FEDERAL DEFENDANTS
      TO REPLEAD THEIR ANSWER TO THE AMENDED COMPLAINT.


                                       INTRODUCTION

       Defendant-Intervenor New Jersey has moved this Court to strike certain paragraphs of

Federal Defendants’ Answer pursuant to Federal Rules of Civil Procedure 8(b) and 12(f). New

Jersey’s motion is without merit and should be denied. As an initial matter, New Jersey has made

no showing they are prejudiced by any response in Federal Defendants’ Answer, or that

amending the Answer would move this case forward in a meaningful way. New Jersey’s motion

also fails on the merits because Federal Defendants’ Answer meets the standards of Rule 8(b).




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Numerous courts (although not all of them) have ruled that a defendant can, consistent with Rule

8(b), state that an allegation is a legal conclusion to which no response is required.

                                           ARGUMENT

       Although New Jersey initially styles its motion as a motion to strike, New Jersey fails to

acknowledge the high bar to succeed on such motion. Federal Rule of Civil Procedure 12(f)

allows the court to strike “from any pleading any insufficient defense or any redundant,

immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). Courts view Rule 12(f)

motions with disfavor because “[i]t is a drastic remedy to be resorted to only when required for

the purposes of justice.” Augustus v. Bd. of Pub. Instr. of Escambia County, Florida, 306 F.2d

862, 868 (5th Cir. 1962). In particular, a matter can only be stricken under Rule 12(f) if there is a

showing of prejudice. See Landmark Graphics Corp. v. Seismic Micro Tech., Inc., Nos. CIVA H-

05-2618, CIVA H-06-1790, Dkt. 114 at 3 (S.D. Tex. Jan. 22, 2007) (“Rule 12(f) motions require

a showing of prejudice.”). Here, New Jersey makes no showing of prejudice. Rather, New Jersey

only references vague allegations by the Perez Defendant-Intervenors that, inter alia, Federal

Defendants’ Answer is “relevant to the issues presently being briefed before the Court. . . .” Dkt.

No. 334 at 3, citing Dkt. No. 273 at 1. It is also unclear to Federal Defendants how New Jersey

has any interest in the Answer given that both sets of Defendant-Intervenors submitted their own

Answers that establish the parameters of any disputes to be litigated, and that Federal

Defendants’ legal positions are clearly stated throughout the preliminary injunction briefing and

other motions practice on file.

       New Jersey’s motion also fails on its merits because Federal Defendants’ Answer meets

the requirements of Rule 8(b). Numerous courts have held that legal conclusions in complaints

require no response. See, e.g., Wattie-Bey v. Stephens & Michaels Assocs., No. 13-CV-396, 2013




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WL 2302117, at *1-2 (M.D. Pa. May 24, 2013); Walker-Cook v. Integrated Health Res., LLC,

No. 12-CV-146, 2012 WL 4461159, at *4 (D. Haw. Aug. 10, 2012), adopted by 2012 WL

4461414 (Sept. 25, 2012); Khepera-Bey v. Santander Consumer USA, Inc., No. CIV. WDQ-11-

1269, 2012 WL 1965444, at *5 (D. Md. May 30, 2012); Washington v. McCoy, 12-CV-628,

2013 WL 6504685, at *1 (S.D. Ohio Dec. 11, 2013); Bradford v. HSBC Mortg. Corp., No.

1:09CV1226, 2011 WL 9933767, at *1 (E.D. Va. Jan. 21, 2011). Thus, Defendants’ responses

are consistent with Rule 8(b).

       Federal Defendants acknowledge the line of cases cited by New Jersey, but note that

these are distinguishable. First, it does not appear that any of the cases cited by New Jersey

support an intervenor’s right to litigate the sufficiency of an answer. Second, these cases

misconstrue the Federal Rules scheme. Most of the legal conclusions in the Amended Complaint

cannot, by their nature, be answered by a “short and plain” admission, denial, or defense

contemplated by Rule 8(b). Instead, these paragraphs allege in broad and indefinite fashion that

unidentified statutes, regulations, technical standards, policies, procedures, rules, directives, and

guidance documents establish the pertinent legal standards in this case for evaluating the

lawfulness of the agency action at issue. Responding to these allegations requires legal

argument.1 A pleading, however, is “not the proper document in which to present extensive legal

arguments that belong in a legal memorandum.” Walker v. Walker, No. 11-CV-2967, 2011 WL

3757314, at*2 (N.D. Ill. Aug. 25, 2011); see also Norton–Griffiths v. Wells Fargo Home Mortg.,

No.10-CV-169, 2011 WL 884456, at *6 (D. Vt. 2011). Indeed, while Federal Defendants could

similarly move to strike these allegations as “redundant, immaterial, [or] impertinent,” for failing




1
 Notably, New Jersey does not allege that Federal Defendants have failed to respond to any factual
assertions in the Amended Complaint.


                                                  3
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to comply with Fed. R. Civ. P. 8(a)(2) (pleadings should contain “a short and plain statement of

the claim”), and 8(d)(1) (“Each allegation must be simple, concise, and direct.”), that would be a

very inefficient way of proceeding every time a complaint strays from Rule 8.

       Therefore, the Court should deny New Jersey’s motion in its entirety, and alternatively

should afford Federal Defendants the opportunity to replead.

Dated: November 13, 2018                             Respectfully submitted,

JOSEPH H. HUNT                                       /s/ Jeffrey S. Robins
Assistant Attorney General                           JEFFREY S. ROBINS
Civil Division                                       Attorney-in-Charge
                                                     Assistant Director
BRETT A. SHUMATE                                     U.S. Department of Justice, Civil Division
Deputy Assistant Attorney General                    Office of Immigration Litigation
                                                     District Court Section
WILLIAM C. PEACHEY                                   P.O. Box 868, Washington, DC 20044
Director, Office of Immigration Litigation           Telephone: (202) 616-1246
District Court Section                               Facsimile: (202) 305-7000
                                                     jeffrey.robins@usdoj.gov
Attorneys for Federal Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 13, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the Court’s CM/ECF system. I also certify that the foregoing

document is being served this day on all counsel of record either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

parties who are not authorized to receive electronically Notices of Electronic Filing.



                                                     /s/ Jeffrey S. Robins
                                                     JEFFREY S. ROBINS
                                                     Attorney-in-Charge
                                                     Assistant Director

                                                     Attorneys for Federal Defendants
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

               Plaintiffs,

        v.                                           Case No. 18-cv-00068
UNITED STATES OF AMERICA, et al.,

               Defendants,

KARLA PEREZ, et al.,

               Defendant-Intervenors,

and

STATE OF NEW JERSEY,

               Defendant-Intervenor.


                                           APPENDIX

        Pursuant to this Court’s Civil Procedures, Rule 7, Federal Defendants hereby provide the

Court with the following table of contents and copies of the authorities cited in its Response in

Opposition to Defendant-Intervenor New Jersey’s Motion to Strike:

  Ex.                                  Citation                                        Page
   1.    Bradford v. HSBC Mortg. Corp., No. 1:09CV1226, 2011 WL 9933767             FDAPP001
         (E.D. Va. Jan. 21, 2011).
  2.     Khepera-Bey v. Santander Consumer USA, Inc., No. CIV. WDQ-11-              FDAPP003
         1269, 2012 WL 1965444 (D. Md. May 30, 2012).
  3.     Landmark Graphics Corp. v. Seismic Micro Tech., Inc., Nos. CIVA H-         FDAPP017
         05-2618, CIVA H-06-1790, Dkt. 114 at 3 (S.D. Tex. Jan. 22, 2007).
  4.     Norton–Griffiths v. Wells Fargo Home Mortg., No.10-CV-169, 2011            FDAPP020
         WL 884456 (D. Vt. 2011).
  5.     Walker v. Walker, No. 11-CV-2967, 2011 WL 3757314 (N.D. Ill. Aug.          FDAPP025
         25, 2011).
  6.     Walker-Cook v. Integrated Health Res., LLC, No. 12-CV-146, 2012            FDAPP027
         WL 4461159 (D. Haw. Aug. 10, 2012).


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  7.    Washington v. McCoy, 12-CV-628, 2013 WL 6504685 (S.D. Ohio Dec. FDAPP032
        11, 2013).
  8.    Wattie-Bey v. Stephens & Michaels Assocs., No. 13-CV-396, 2013 WL FDAPP036
        2302117 (M.D. Pa. May 24, 2013).

Dated: November 13, 2018                          Respectfully submitted,

JOSEPH H. HUNT                                    /s/ Jeffrey S. Robins
Assistant Attorney General                        JEFFREY S. ROBINS
Civil Division                                    Attorney-in-Charge
                                                  Assistant Director
BRETT A. SHUMATE                                  U.S. Department of Justice, Civil Division
Deputy Assistant Attorney General                 Office of Immigration Litigation
                                                  District Court Section
WILLIAM C. PEACHEY                                P.O. Box 868, Washington, DC 20044
Director, Office of Immigration Litigation        Telephone: (202) 616-1246
District Court Section                            Facsimile: (202) 305-7000
                                                  jeffrey.robins@usdoj.gov
Attorneys for Federal Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 13, 2018, I electronically filed the foregoing with the

Clerk of the Court by using the Court’s CM/ECF system. I also certify that the foregoing

document is being served this day on all counsel of record either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

parties who are not authorized to receive electronically Notices of Electronic Filing.



                                                     /s/ Jeffrey S. Robins
                                                     JEFFREY S. ROBINS
                                                     Attorney-in-Charge
                                                     Assistant Director

                                                     Attorneys for Federal Defendants
BradfordCase  1:18-cv-00068
         v. HSBC Mortg. Corp., Not Document     336-1 Filed
                                   Reported in F.Supp.2d (2011) in        TXSD on 11/13/18 Page 4 of 40
2011 WL 9933767

                                                                       (c) plaintiff's allegations refer to a document that
                                                                       “speaks for itself.”
                 2011 WL 9933767
   Only the Westlaw citation is currently available.
                                                                     (iii) The affirmative defenses 1 are stated only in a
     United States District Court, E.D. Virginia,
                                                                        boilerplate form that fails to put plaintiff on sufficient
                Alexandria Division.
                                                                        notice of the nature of the defenses being asserted;
           Norman BRADFORD, Plaintiff,                                  and
                      v.
                                                                 1        Defendants assert as affirmative defenses, inter alia,
               HSBC MORTGAGE
         CORPORATION, et. al., Defendants.                                (i) failure to state a claim, (ii) statute of limitations,
                                                                          (iii) laches, (iv) waiver, (v) estoppel, (vi) failure to
                      No. 1:09cv1226.                                     mitigate damages, and (vii) unclean hands.
                             |
                       Jan. 21, 2011.                              (iv) Defendants' answers otherwise fall short of the
                                                                      requirements of Rules 8 and 11, Fed.R.Civ.P.
Attorneys and Law Firms                                          Plaintiff's arguments are meritless. Rule 8, Fed.R.Civ.P.,
                                                                 makes clear that a party may respond to allegation in one
Gregory Nicholas Bryl, Law Office of Gregory Nicholas
                                                                 of any number forms depending on the circumstances,
Bryl, Washington, DC, for Plaintiff.
                                                                 subject to the other civil procedure rules. In particular,
Abby Kelley Moynihan, Antoinette Nichole Moore,                  Rule 8(b)(3) provides that
McCabe Weisberg & Conway LLC, Laurel, MD, for
                                                                               A party that intends in good
Defendants.
                                                                               faith to deny all the allegations
                                                                               of a pleading—including the
                                                                               jurisdictional grounds—may do so
                          ORDER                                                by a general denial. A party that
                                                                               does not intend to deny all the
T.S. ELLIS, III, District Judge.
                                                                               allegations must either specifically
 *1 The matter is before the Court on plaintiff's pro se                       deny designated allegations or
motions to strike the answers and affirmative defenses,                        generally deny all except those
or in the alternative, for judgment on the pleadings,                          specifically admitted.
against defendants HSBC Mortgage Corp. (“WSBC”),
                                                                 As for denials in part, Rule 8(b)(4) specifically allows such
Professional Foreclosure Corp. (“PFC”), and Mortgage
                                                                 denials so long as the party “intends in good faith to deny
Electronic Registration Systems, Inc. (“MERS”). Each
                                                                 only part of an allegation,” “admit[s] the part that is true[,]
of the defendants filed separate answers and affirmative
                                                                 and den[ies] the rest.” Furthermore, Rule 8(b)(5) allows a
defenses in this matter in response to plaintiff's verified
                                                                 party “that lacks knowledge or information sufficient to
amended complaint. Plaintiff essentially argues that all
                                                                 form a belief about the truth of an allegation” to state as
of these pleadings are deficient, and therefore should be
                                                                 much in the answer, which serves as a denial. Finally, Rule
stricken or entitle plaintiff to judgment on the pleadings,
                                                                 8(b)(6) indicates that where a “responsive pleading is not
because:
                                                                 required, an allegation is considered denied or avoided.”
  (i) The answers deny allegations that are, in plaintiff's
     view, beyond dispute;                                       As these provisions make clear, all of defendants'
                                                                 responses are within the contemplation of Rule 8,
  (ii) The answers fail to deny, and therefore admit,            Fed.R.Civ.P. Indeed, not only do defendants respond
     numerous allegations insofar as the responses               to each allegation—specifically admitting, denying, or
     take any of the following forms: (a) “[defendant]           stating a basis for failing to admit or to deny each
     lacks sufficient information to admit or deny the           allegation—but each defendant's answer also includes
     allegations,” (b) “[plaintiff's allegations] constitute a   a general denial stating that, to the extent that any
     legal conclusion, and no response is required,” and         allegations are not specifically admitted, they are denied.


                                                                                                                      FDAPP001
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                                   Reported in F.Supp.2d (2011) in          TXSD on 11/13/18 Page 5 of 40
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Nothing in the form of these responses violates the Federal         Nothing in defendants' answers or affirmative defenses
Rules of Civil Procedure. And, because defendants have              provides a basis to challenge the pleadings under Rule
effectively denied the central allegations in plaintiffs            11. Plaintiff challenges defendant's denials as controverted
complaint, it is clear that plaintiff is not entitled to            by the evidence, but as defendants correctly note, the
judgment on the pleadings. See Rule 12(c), Fed.R.Civ.P.             proper time to attack defendant's argument is the
                                                                    summary judgment stage. See Rule 56, Fed.R.Civ.P.
                                                                    Plaintiff apparently seeks to learn more about the asserted
 *2 Plaintiff also suggests the pleadings fall short of Rule
                                                                    defenses, but a minimal recital of affirmative defenses is
11, but this argument too is meritless. Rule 11 states
                                                                    well within the contemplation of the Federal Rules of Civil
that an attorney's signature on a pleading signifies the
                                                                    Procedure. Ultimately, discovery is the appropriate means
attorney's certification that the pleading meets certain
                                                                    of probing defendants' denials and defenses.
standards of fairness and nonfrivolousness “to the best of
the person's knowledge, information, and belief, formed
                                                                    Accordingly, and for good cause,
after an inquiry reasonable under the circumstances.”
Rule 11, Fed.R.Civ.P. Relevant here are two particular
                                                                    It is hereby ORDERED that plaintiff's pro se motions
representations indicated in Rule 11. First, the attorney's
                                                                    (Doc. Nos. 61, 62, 63, 64, and 65) are DENIED.
signature certifies that the “defenses[ ] and other legal
contentions are warranted by existing law or by a
                                                                    The Clerk is directed to send a copy of this Order to all
nonfrivolous argument for extending, modifying, or
                                                                    counsel of record.
reversing existing law or for establishing new law.” Id.
Second, the attorney's signature indicates that “the denials
of factual contentions are warranted on the evidence or, if         All Citations
specifically so identified, are reasonably based on belief or
a lack of information.” Id.                                         Not Reported in F.Supp.2d, 2011 WL 9933767



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                                                                                                                    FDAPP002
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       Casev.1:18-cv-00068
Khepera-Bey                  Document
             Santander Consumer             336-1
                                USA, Inc., Not      Filed
                                               Reported     in TXSD(2012)
                                                        in F.Supp.2d on 11/13/18                     Page 6 of 40
2012 WL 1965444

                                                                 3      The motions ask the Court to: vacate the Court's
                   2012 WL 1965444                                      order dismissing the original complaint (ECF No.
     Only the Westlaw citation is currently available.                  33), vacate Santander's motion to dismiss the original
                                                                        complaint (ECF No. 36), “evidence” the defendants'
             United States District court, D.
                                                                        fraud or liability (ECF Nos. 37, 38, 39, 61),
              Maryland, Northern Division.
                                                                        order a more definite statement (ECF No. 41),
                                                                        order discovery and sanctions for failing to provide
          Kalliaten Sekhneb KHEPERA–BEY,
                                                                        discovery (ECF No. 42), clarify the complaint (ECF
       formerly known as Khaval Stewart Plaintiff,
                                                                        No. 55), support his motion to vacate the Court's
                           v.                                           order (ECF No. 56), grant default judgment against
              SANTANDER CONSUMER                                        the defendants (ECF Nos. 59, 60, 65, 67), and
             USA, INC., et al., Defendants.                             “transfer [his] case to [the Court's] De Jure venue
                                                                        of Law” and adjudicate the action “in accord with
                   Civil No. WDQ–11–1269.                               the Moor Sundry Act of 1790,” (ECF No. 68). The
                              |                                         Moors Sundry Act of 1790 was passed by the South
                         May 30, 2012.                                  Carolina legislature and granted special status to the
                                                                        subjects of the Sultan of Morocco. It recognized
Attorneys and Law Firms                                                 Moors as “white” people with jury duty as a privilege.
                                                                        Moors were not to be subjected to The Negro
Khaval Stewart, Baltimore, MD, pro se.                                  Act governing blacks and slaves. Moors Sundry
                                                                        Act of 1790, available at http://en.wikipedia.org/
Jennifer Ann DeRose, Kimberly A. Manuelides,                            wiki/Moors_Sundry_Act_of_1790, accessed Mar. 23,
Baltimore, MD, Leslie Paul Machado, LeClair Ryan PC,                    2012.
Washington, DC, Megan S. Benary, LeClair Ryan PC,
Alexandria, VA, for Defendants.
                                                                 I. Background 4
                                                                 4      For the motion to dismiss, the well-pled allegations
                                                                        in Khepera–Bey's complaint are accepted as true.
              MEMORANDUM OPINION
                                                                        See Brockington v. Boykins, 637 F.3d 503, 505 (4th
                                                                        Cir.2011).
WILLIAM D. QUARLES, JR., District Judge.
                                                                 On August 10, 2006, Khepera–Bey bought a 2003 Nissan
*1     KalliAten SekhNeb Khepera–Bey (“Khepera–
                                                                 Pathfinder from Lanham Ford 5 under a retail installment
       1
Bey”)     sued Santander Consumer USA, Inc.                      contract (“RIC”), which was assigned to DC Financial
(“Santander”) and Renaissance Recovery Solutions, LLC            Services of America. ECF No. 4–2. The Certificate of Title
(“Renaissance”) for violating the Fair Debt Collection           listed Khaval Stewart, Khepera–Bey's former name, as the
Practices Act 2 (“FDCPA”), and other claims. For the             registered owner, and “DC Fin. Svcs. Amer. LLC” as the
following reasons, Khepera–Bey's motion for leave to file        secured party. ECF No. 31 Ex. X1 at 6.
his second amended complaint will be granted in part and
denied in part, and his 15 other pending motions 3 will be       5      Lanham is in Prince George's County.
denied. Renaissance's motion to dismiss will be granted in       Khepera–Bey received a copy of the RIC when he bought
part.                                                            the car; it stated that the buyer had received “a true
                                                                 and completely filled in copy of this Retail Installment
1       When he filed his first complaint in this Court,         Contract.” ECF No. 37–1 at 12. 6 The seller's signature
        Khepera–Bey was named Khaval Stewart. Khepera–
                                                                 block of the RIC looks like this:
        Bey has since notified the Court that on November 16,
        2011, he changed his name to Khepera–Bey to reflect
                                                                 6      Khepera–Bey references his copy of the RIC in the
        his religious beliefs. ECF Nos. 45, 57. The Court will
        refer to him as “Khepera–Bey.”                                  Amended Complaint as Exhibit N, but it is attached
                                                                        to a later filing. See ECF No. 31 at 17; ECF No. 37–1
2       15 U.S.C. §§ 1692a, et seq. (2006).                             at 11–12. On the exihibit, Khepera–Bey wrote that he




                                                                                                                 FDAPP003
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Khepera-Bey                  Document
             Santander Consumer             336-1
                                USA, Inc., Not      Filed
                                               Reported     in TXSD(2012)
                                                        in F.Supp.2d on 11/13/18                       Page 7 of 40
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       received the copy from the dealer in April 2011. ECF        25, 2010. Id. at 1. Khepera–Bey made no payments to
       No. 37–1 at 11–12.                                          Santander until October 10, 2010, when he paid $405.27,
        X__________________________________________________        one monthly installment. ECF No. 1 at lns. 101–03; ECF
        Seller Signs              By
                                                                   No. 4 at 5.
                                  _________________________
                                  Title
                                                                    *2 Khepera–Bey sent cease and desist letters to
A signature appeared on the “By” line, and “Sales Mgr.” is         Santander on October 27, 2010, ECF No. 1 lns. 144–45,
faintly apparent on the “Title” line on the copy Khepera–          and November 26, 2010, ECF No. 4–1 at 6; ECF No. 1 ln.
Bey received when he bought the car. “Seller Signs” was            167. Santander acknowledged receiving the second letter
blank. Id. The RIC stated that if Khepera–Bey defaulted            and promised not to call Khepera–Bey again. ECF No. 1,
the financer could, “without the use of force or other             Ex. J.
breach of the peace ... enter the premises where the vehicle
may be and lawfully repossess (take back) the vehicle.”            On November 15, 2010, Santander sent Khepera–Bey a
ECF No. 1 Ex. M.                                                   letter telling him that it intended to repossess his car
Khepera–Bey made monthly payments to CitiFinancial                 because Khepera–Bey had missed the September 25 and
                                                                   October 25 payments, and Santander had not received
Auto 7 until late 2010. On August 12, 2010, CitiFinancial
                                                                   Khepera–Bey's November 25, 2010 payment. ECF No. 1
sent Khepera–Bey a notice that his “account [was] past
                                                                   Ex. G.
due.” ECF No. 1 Ex. 3. It noted that CitiFinancial had
“attempted to call [him] several times” to collect $390.32 in
                                                                   Before December 2, 2010, Khepera–Bey filed a complaint
overdue payments. Id. On August 21, 2010, CitiFinancial
                                                                   with the Maryland Department of Labor, Licensing
sent another letter, stating that Khepera–Bey's account
                                                                   and Regulation (“DLLR”) about Santander's collection
was in default. ECF No. 35 Ex. X–33.
                                                                   practices. ECF No. 1 Ex. K. DLLR asked Santander
                                                                   to provide documentation of the debt. Id. Ex. M. On
7      CitiFinancial Auto bought the RIC from Chrysler.            December 20, 2011, Santander provided a copy of the RIC
       ECF No. 35 Ex. 4A.                                          to the DLLR to verify the debt. ECF No. 35–1 at 26–27;
After September 6, 2010, Santander notified Khepera–               ECF No. 1 Ex. M. “Lanham Ford” was written on the
Bey that it had acquired the RIC. ECF No. 1 lns.                   “Seller Signs” line. ECF No. 1 Ex. M. DLLR forwarded
43–44 8 ; ECF No. 4 at 2. On September 25, 2010,                   the copy to Khepera–Bey. Id.
Santander called Khepera–Bey at 7:35 AM to collect a
payment. ECF No. 1 lns. 78–79. On October 2, 2010,                 On January 7, 2011, at 11:30 PM, Renaissance repossessed
Khepera–Bey sent Santander a letter asking Santander               Khepera–Bey's car for Santander. Id. at lns. 354–60.
to verify his debt. ECF No. 31 at 9; ECF No. 1 Ex. C.              Khepera–Bey told Renaissance's employee that the debt
Santander responded with an affidavit listing companies            was disputed. Id. at ln. 361. The employee continued
whose debt Santander services, including CifiFinancial             the repossession with the permission of police officers
Auto Credit Corp, CitiFinancial Auto Corporation,                  Khepera–Bey had called to the scene. Id. at lns. 370–79.
and DaimlerChrysler Services North America LLC, and                One police officer or the employee yelled to Khepera–Bey
continued to send Khepera–Bey a monthly bill. Id. at lns.          that he “should have paid [his] car payment” in front of his
82–86; ECF No. 1 Ex. Y.                                            neighbors who had gathered to watch the repossession. 9
                                                                   Id. at lns. 392–95. The repossession and debt are on
8      Although the Court dismissed Khepera–Bey's
                                                                   Khepera–Bey's credit report. Id. at lns. 408–09.
       original complaint, he continues to refer to portions
       of it, including most of the facts supporting his claims,   9      In his proposed second amended complaint,
       in his amended complaints.                                         Khepera–Bey incorporates his earlier statement that
After October 4, 2010, Santander sent Khepera–Bey a                       an officer yelled at him, but also alleges that
                                                                          Renaissance's employee shouted the statements. ECF
bill that included an “account summary” and “account
                                                                          No. 35–1110.3. A “witness statement” attached to
status.” ECF No. 1 Ex D. As of October 4, 2010, Khepera–
                                                                          the original complaint states the officer and employee
Bey's account was 39 days delinquent, and he had not
                                                                          made the same statement. ECF No. 1 Ex. 2.
made payments due on August 25, 2010 or September


                                                                                                                   FDAPP004
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Khepera-Bey                  Document
             Santander Consumer             336-1
                                USA, Inc., Not      Filed
                                               Reported     in TXSD(2012)
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On January 11, 2011, Santander mailed Khepera–Bey a            listing “DC Fin Svcs” as a lienholder. ECF No. 35 Ex. X–
letter dated January 9, 2011, stating that it would sell the   13.
car at a private sale in Elkridge, Maryland 10 on or after
January 20, 2011, unless he paid his remaining debt and        Between October 12, 2011 and March 7, 2011, Khepera–
the cost of repossessing the car. ECF No. 1 Ex. P.             Bey filed 16 motions and “notices” that this Court
                                                               will construe as motions. See Docket. On October 26,
10                                                             2011, Khepera–Bey moved for leave to file a second
       Elkridge is in Howard County, Maryland.
                                                               amended complaint. ECF No. 35. On December 1,
On January 31, 2011, the Maryland Motor Vehicle                2011, Renaissance moved to dismiss the first amended
Administration (“MVA”) issued Santander a repossession         complaint for failure to state a claim against it. ECF
title in the name of DC Financial. Id. at lns. 575–77; ECF     No. 47. The defendants also moved for an order barring
No. 35 Ex. X–13. On February 17, 2011, Khepera–Bey             Khepera–Bey from filing further motions. ECF Nos. 40,
recovered his damaged car from Renaissance. ECF No.            63.
1 lns. 513–18. On March 30, 2011, Chrysler Financial
Services stated that it did not hold a security interest or
right of ownership in Khepera–Bey's car. ECF No. 31 Ex.        II. Analysis
X1 at 1.
                                                                    A. Khepera–Bey's Motions
Khepera–Bey alleges that his college grades fell below a D     1. Motion for Special Appearance and Challenge to Pro
average, he lost sleep and his chance for employment, and      Se Status
gained weight because of Santander's attempts to collect       Khepera–Bey asked the Court “to grant [him a] Special
his car payments. ECF No. 1 lns. 674–703.                      Appearance in the Honorable Court's proceedings for this
                                                               matter ... [because he] is not under the jurisdiction of the
On May 6, 2011, Khepera–Bey sued Santander and                 null and void 14th Amendment.” ECF No. 20 at 2. He
Renaissance alleging that they had violated the FDCPA,         also objects to application of the term “pro se” to him,
15 U.S.C. §§ 1692–1692p, the Maryland Fair Debt                preferring he be referred to as in propria persona (Latin
Collection Practices Act, Md.Code. Ann., Commercial            for “in one's own person”). The terms are interchangeable
Law § 14–202 (West 2010), and had committed fraud,             and the docket will not be changed. See Black's Law
extortion, theft, and Intentional Infliction of Emotional      Dictionary (2009); Bank of Am. Nat'l Ass'n v. Derisme,
Distress. ECF No. 1.                                           No. 10–cv–0900, 2010 WL 3211066, at *4 n. 5 (D.Conn.
                                                               Aug.13, 2010).
 *3 Santander moved to dismiss the complaint, and
Khepera–Bey moved for leave to file an amended                 “[T]he distinction between general and special
complaint and other relief. ECF Nos. 4, 14–16, 21, 22, 25.     appearances in federal practice has been abolished.”
On October 6, 2011, the Court allowed Khepera–Bey to           Davenport v. Ralph N. Peters & Co., 386 F.2d 199, 204 (4th
amend the complaint but dismissed most of it for failure
                                                               Cir.1967). 12 Khepera–Bey's requests will be denied.
to state a claim. 11 ECF No. 29.
                                                               12       Although the Fourteenth Amendment to the United
11     The Court also denied Khepera–Bey's motions for                  States Constitution is binding on this Court,
       summary judgment, to amend the summary judgment                  e.g. Richardson v. Branker, 668 F.3d 128, 136
       motion, and for declaration of bad faith. The Court              (4th Cir.2012) (applying Fourteenth Amendment),
       granted Khepera–Bey's motion for alternative service             Khepera–Bey's action does not involve rights under
       on Renaissance. ECF No. 29.                                      the Fourteenth Amendment. See ECF No. 35–1.
On August 23, 2011, the MVA determined that the
repossession title had been issued in error because              2. Motions to Vacate Filing and Court Order
Santander had “failed to adequately exhibit that it had a      Khepera–Bey moved to vacate the Court's order
security interest in the 2003 Nissan and a right to possess    dismissing his original and amended complaint, and to
the vehicle,” and reinstated Khepera–Bey's registration        vacate Santander's motion to dismiss. ECF Nos. 33, 36,
and title as they appeared on August 10, 2006—that is,         56. His motion to vacate Santander's motion will be


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construed as an opposition to Santander's motion to                of a complaint, but does not “resolve contests surrounding
dismiss. His motions to vacate the Court's order will be           the facts, the merits of a claim, or the applicability of
construed as motions for reconsideration.                          defenses.” Presley v. City of Charlottesville, 464 F.3d
                                                                   480, 483 (4th Cir.2006). The Court assumes that the
The Clerk, of the Court told Khepera–Bey that he had               facts contained in the complaint are true. 15 Santander
to respond to Santander's motion to dismiss by July 9,             was not required to address the allegation that the
2011. ECF No. 7 at 1 (Rule 12/56 letter). The Clerk                retail installment was fraudulent. See ECF No. 33 at 2.
also told Khepera–Bey that if he “d[id] not file a timely          Santander challenged the complaint because Khepera–
written response, the Court may dismiss the case or                Bey had not alleged the necessary facts to support one
enter judgment against [him] without further notice.”              element of the FDCPA claim—that Santander was a
Id. Khepera–Bey filed the motion to vacate Santander's             debt collector, as defined by the statute. An FDCPA
motion on November 2, 2011, almost four months after               claim that does not show that the FDCPA applies to the
it was due. ECF No. 36. The response will be denied as             defendant must be dismissed. In dismissing the complaint
untimely. 13                                                       and amended complaint the Court has not ignored the
                                                                   allegedly fraudulent contract. ECF No. 33 at 5. 16
13     Khepera–Bey argued in his motion that Santander's
       motion to dismiss was filed six days after the answer       15     However, the Court will not accept the legal
       to his complaint was due. ECF No. 36 at 2. Under                   conclusions in the complaint. When resolving the
       Fed.R.Civ.P. 12(a), a defendant must serve an answer               motion to dismiss, the Court checks whether the
       or a motion to dismiss within 21 days after the                    complaint includes every required element for each
       defendant is served with the summons and complaint.                claim.
       The summons lists the “date of service,” and the
       USPS delivery confirmation notice lists the date of         16     Khepera–Bey states that Renaissance was “trying to
       receipt, as May 31, 2011. ECF No. 9 at 1–2. A                      take on the decision making role reserved for” the
       handwritten note states that service was “accepted”                Court when it argued that Khepera–Bey's amended
       on May 25, 2011; it is not clear why or how service                complaint mooted his motion to vacate. ECF No. 44
       was accepted before the date of service and delivery.              at 9. Renaissance did not try to usurp the Court's
       Id. at 1. The motion to dismiss or answer was due                  role, it merely presented to the Court an argument, an
       on June 21, 2011. See Fed.R.Civ.P. 12(a). Santander                argument it was entitled to make. The Court did not
       timely filed its motion on June 21, 2011. ECF No. 4.               consider that argument because it resolved the motion
                                                                          on other grounds, but Renaissance did nothing wrong
 *4 In his motion to vacate the Court's order, Khepera–
                                                                          by arguing mootness.
Bey argues that Santander “did not provide any lawful
                                                                          The defendants also did not usurp the Court's power
link to the Plaintiff in their ... affidavit.” ECF No. 33
                                                                          to set deadlines. See id. The Clerk of the Court enters
at 1. Khepera–Bey's argument—about whether Santander
                                                                          the deadlines on the docket sheet. The defendants had
has proof that it is not liable to Khepera–Bey—was not                    no role in creating those deadlines.
relevant to the Court's decision whether Khepera–Bey had
                                                                   Khepera–Bey also argues that he is entitled to
properly alleged the claims in his complaint. 14                   reconsideration under Fed.R.Evid. 103. ECF No. 56 at
                                                                   1. Rule 103 applies to preserving a claim of error when
14     At this stage in this suit, Khepera–Bey has not             the Court admits or excludes evidence from a proceeding.
       “demonstrated by a preponderance of the evidence”           The Court has made no evidentiary rulings. See ECF Nos.
       that the contract is fraudulent. ECF No. 33 at 5.           28, 29. Whether Santander committed fraud remains to
       The Court assumes that, as the complaint claims,            be proven at the appropriate time, not at the motion to
       Santander completed portions of the complaint that
                                                                   dismiss stage. See Presley, 464 F.3d at 483.
       Lanham Ford was meant to complete. See ECF No.
       1. This does not mean that Khepera–Bey has proven
                                                                   When the Court considered Khepera–Bey's motion for
       fraud.
                                                                   summary judgment, it did not weigh the evidence by
As the Court will discuss again when it considers                  concluding that the parties needed to conduct discovery
Renaissance's motion to dismiss, below, a motion to                before it could rule on a motion for summary judgment.
dismiss for failure to state a claim tests the legal sufficiency   ECF No. 28 at 11–12. Khepera–Bey objects to the


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Court's consideration of Santander's affidavit, submitted           Under Fed.R.Civ.P. 8(b), an answer to a complaint must
in opposition to his motion for summary judgment. ECF               “state in short and plain terms its defenses to each claim
No. 56 at 1. He argues that the affidavit “does not exist.”         asserted against it; and admit or deny the allegations
Id. at 2. The affidavit, which was originally submitted             asserted against it.”
without signature, was signed and re-submitted. ECF
No. 26–1. It was sufficient to permit Santander to avoid            *5 Under Fed.R.Civ.P. 12(e):
summary judgment at this early stage of the proceedings.
See Fed.R.Civ.P. 56(d).                                               A party may move for a more definite statement of a
                                                                      pleading to which a responsive pleading is allowed but
Khepera–Bey has not shown that the Court's October 6,                 which is so vague or ambiguous that the party cannot
                                                                      reasonably prepare a response.... If the court orders a
2011 order should be reconsidered. 17 Accordingly, the
                                                                      more definite statement and the order is not obeyed
motion will be denied.
                                                                      within 14 days after notice of the order or within the
                                                                      time the court sets, the court may strike the pleading
17     Motions for reconsideration of an interlocutory order          or issue any other appropriate order. A motion for
       are governed by Rule 54(b), under which “any order             more definite statement focuses on whether a party has
       or other decision ... may be revised at any time before
                                                                      “enough information to frame an adequate answer.”
       the entry of a judgment adjudicating all the claims
                                                                      Streeter v. SSOE Sys., No. WMN–09–CV–1022, 2009
       and all the parties' rights and liabilities.” Fed.R.Civ.P.
                                                                      WL 3211019, at *10 (D.Md. Sept.29, 2009) (citation
       54(b). When warranted, the district court retains the
       power to reconsider and modify its interlocutory
                                                                      and internal quotation marks omitted). A motion for a
       judgments at any time before final judgment. Am.               more definite statement challenges the intelligibility or
       Canoe Ass'n v. Murphy Farms, Inc., 326 F.3d 505,               ambiguity of the complaint, not whether the allegations
       514–15 (4th Cir.2003). Resolution of the motion is             state a claim. 18
       “committed to the discretion of the district court,” Id.
       at 515, and “the goal is to reach the correct judgment       18     Smith v. McGraw, No. 10–cv–02310–AW, 2011 WL
       under law.” Netscape Commc'n Corp. v. ValueClick,
                                                                           1599579, at *5 (D.Md. Apr.27, 2011); Frederick v.
       Inc., 704 F.Supp.2d 544, 547 (E.D.Va.2010) (internal
                                                                           Koziol, 727 F.Supp. 1019, 1020–21 (E.D.Va.1990).
       citations omitted).
       Under Rule 60(b), a court may grant relief from              Whether to grant a motion for a more definite statement is
       a judgment or order for: (1) mistake, inadvertence,          “generally left to the district court's discretion.” Hodgson
       surprise, or excusable neglect; (2) newly discovered         v. Va. Baptist Hosp., Inc., 482 F.2d 821, 824 (4th Cir.1973).
       evidence; (3) fraud or misconduct by the opposing            However, this motion is disfavored because of the liberal
       party; (4) voidness; (5) satisfaction; or (6) any            pleading standard. Frederick, 727 F.Supp. at 1021.
       other reason that justifies relief. Fed.R.Civ.P. 60(b).
       Although Rule 60(b) applies only to final judgments,
                                                                    Khepera–Bey's motion fails for two reasons. First, Rule
       a court may consider the reasons in that rule when
                                                                    12(e) applies to “a pleading to which a responsive pleading
       deciding whether to grant relief under Rule 54(b).
                                                                    is allowed.” No responsive pleading to an answer is
       See Fayetteville Investors v. Commer-cial Builders,
       Inc., 936 F.2d 1462, 1470 (4th Cir.1991); Mateti v.          allowed unless the answer includes a counterclaim or the
       Activus Fin. ., LLC, No. DKC–08–0540, 2009 WL                Court orders a reply to the answer. Fed.R.Civ.P. 7(a).
       3633339, *4 (D.Md. Oct.27, 2009). When a request             Neither circumstance is present here.
       for reconsideration merely asks the court to “change
       its mind,” relief is not authorized. Pritchard v. Wal–       Khepera–Bey's motion also fails because Khepera–Bey
       Mart Stores, Inc., 3 F. App'x 52, 53 (4th Cir.2001).         complains that Santander's use of phrases such as
                                                                    “no response is required” and “the terms speak for
   3. Motion for More Definite Statement                            themselves” are ambiguous. See ECF No. 41 at 2. “No
Khepera–Bey moved for a court order requiring                       response is required” to legal conclusions in a complaint;
Santander to provide more “definitive statements” than it           a defendant is only required to respond to factual
gave in its answer to the amended complaint. ECF No. 41             allegations. Santander has denied legal conclusions to
at 1.                                                               the extent they were deemed factual allegations. See
                                                                    Fed.R.Civ.P. 8(b); ECF No. 32. That the terms of


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documents attached to the amended complaint “speak for
themselves,” ECF No. 32 at 1, is an acceptable response
—it means that Santander admits that the attachments            6. Motions for Default Judgment
contain the information that they appear to contain.          Khepera–Bey filed two motions for default judgment
See United States v. Cunningham, No. 08–CV–0709, 2009         and two motions in support of his motions for default
WL 3350028, at *5 (E.D.Va. Oct. 15, 2009). Santander's        judgment. ECF Nos. 59, 60, 63, 67. He argues that the
answer satisfied Rule 8(b); accordingly, Khepera–Bey's        defendants have failed to defend or appear in the action
motion for a more definite statement will be denied.          because some of the defendants' filings are addressed to
                                                              Kheval Stewart, and Khepera–Bey does not respond to
                                                              that name, or Khevil Stewart, a misspelling of his former
   4. Motion for Discovery                                    name. Id.
Khepera–Bey also seeks discovery of documents from
Santander. ECF No. 42. Under Fed.R.Civ.P. 26(d)(1), a         Under Fed.R.Civ.P. 55, a district court may enter a
“party may not seek discovery from any source before          default judgment against a properly served defendant who
the parties have conferred [and produced a discovery          fails to defend or otherwise appear. Fed.R.Civ.P. 55(b)
plan].” Khepera–Bey argues that Rule 26(d) (1) does not       (2). 19 The Fourth Circuit strongly prefers that cases be
apply, because he seeks documents that must be disclosed      decided on their merits, not by default judgment. United
without request under Rule 26(a)(1). ECF No. 52 at            States v. Schaffer Equip. Co., 11 F.3d 450, 453 (4th
2. However, the parties need not disclose Rule 26(a)(1)
                                                              Cir.1993). 20
information until 14 days after the discovery conference.
Fed.R.Civ.P. 26(a) (1)(C). Further, “disclosures need not
                                                              19     If it found that the defendants had defaulted, the
be made until a scheduling order is entered.” Local Rule
104.4 (D.Md.2011). Accordingly, Khepera–Bey's motion                 Court would accept as true the well-pled facts in
                                                                     the plaintiff's complaint, “but [even] a defaulting
is premature and will be denied.
                                                                     defendant is not held to admit conclusions of law.”
                                                                     United States v. $3,500.00 in U.S. Currency, 2008
   5. Motions “Evidencing” Fraud and Forgery                         WL 215807, at *1 (E.D.N.C. Jan.24, 2008) (citing
                                                                     Ryan v. Homecomings Fin. Net work, 253 F.3d
 *6 Khepera–Bey filed four motions “evidencing”
                                                                     778, 780 (4th Cir.2001)). Rather, it remains for the
Santander's alleged fraud and the invalidity of the loan
                                                                     Court to determine whether the unchallenged factual
contract. ECF Nos. 37–39, 61. The motions include
                                                                     allegations “support a claim and the relief sought.” Id.
arguments and documents that Khepera–Bey believes
support his claims. See id. A motion is a “request for a      20     A plaintiff cannot obtain default judgment without
court order.” Fed.R.Civ.P. 7(b). It must state the relief            first obtaining an entry of default against the
it seeks from the Court. Id. Khepera–Bey's “motions”                 defendant. Husain v. Casino Control Comm'n, 265 F.
request that the Court grant them but do not specify the             App'x 130, 133 (3d Cir.2008) (“entry of default by
relief he wants. See ECF Nos. 37–39, 61. It appears that             the Clerk ... constitutes a general prerequisite for a
                                                                     subsequent default judgment”); Romero v. Barnett,
Khepera–Bey wants the Court to make a factual finding
                                                                     No. 09–2371–DKC, 2011 WL 1938147, *2 (D.Md.
that the retail installment contract was fraudulent, and
                                                                     May 20, 2011).
conclude as a matter of law that the defendants are liable.
See ECF No. 37 at 4; ECF No. 38 at 14.                        Further, the defendants' failure to use Khepera–Bey's new
                                                              name, and minor misspellings are not a failure to defend
To the extent Khepera–Bey seeks a factual determination,      this lawsuit. The defendants filed responses to Khepera–
he is too early. As the Court noted in its October            Bey's complaint and motions, which the Clerk properly
Memorandum Opinion, the Court will not rule on                docketed, and Khepera–Bey received. 21 Khepera–Bey
disputes of material fact, such as the validity of            also argues that he is entitled to default judgment because
the contract, before the completion of court-ordered          Santander did not timely answer the complaint. ECF
discovery. ECF No. 29 at 6–7. After discovery                 No. 59 at 2–3. As discussed above, that argument lacks
concludes, Khepera–Bey—or the defendants—may move             merit. 22
for summary judgment. The motions “evidencing” facts
will be denied.


                                                                                                               FDAPP008
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21    Cf. Miller v. Balt. City Bd. of School Comm'rs,
      No. 10–2038–WDQ, 2011 WL 2600589, *5 (D.Md.               The United States District Courts handle all matters of
      Jun.28, 2011) (a defendant cannot obtain dismissal        law and equity, in the same venue. See CIGNA Corp. v.
      for improper service only because the process served      Amara, ––– U.S. ––––, ––––, 131 S.Ct. 1866, 1878, 179
      on him misspelled his name; he received actual notice     L.Ed.2d 843 (2011) (noting the merger of law and equity
      of the action and maintaining the action would            courts). Accordingly, the action is pending in a court of
      not be prejudicial). Here, Khepera–Bey received the       law.
      defendants' filings. He will not be prejudiced by minor
      spelling errors or the use of Khepera–Bey's legal name    Khepera–Bey asks for adjudication under “the Moor
      when he first filed his action.
                                                                Sundry Act of 1790, and not under the Black Codes.”
      Fed.R.Civ.P. 17 is also not helpful for Khepera–
                                                                He did not identify what the that act was, but the Moors
      Bey, as it applies to prosecution of an action, and
                                                                Sundry Act of 1790 appears to be a South Carolina law
      Renaissance and Santander are defending this action.
                                                                granting special immunity from “Black Codes” to South
22    As a third ground for granting default judgment           Carolina residents who were subjects of the Sultan of
      against Santander, Khepera–Bey states that “the
                                                                Morocco. 23 The Civil Rights Act of 1964 eliminated
      defendant informed the Court that they have no
      evidentiary support ... to prove their claims and         discriminatory laws like the “Black Codes.” 24 Further,
      defenses.” ECF No. 59 at 3. Santander has made no         Khepera–Bey has not alleged that he is a subject of the
      such admission. Default judgment does not consider        Sultan of Morocco, this action is premised on federal
      the evidence supporting a claim. Schaffer Equip. Co.,     question jurisdiction, and no acts occurred in South
      11 F.3d at 453.                                           Carolina; the statute is irrelevant. 25 The motion will be
Khepera–Bey also seeks default judgment against                 denied.
Santander under Fed.R.Civ.P. 37(b)(2)(A)(vi) for its
failure to provide discovery material. ECF No. 59 at 2.         23       Presumably because of its age and irrelevance in light
Rule 37(b) applies when a party fails to comply with a                   of the Civil Rights Act of 1964, very little information
court order compelling discovery. Fed.R.Civ.P. 37(a)(1).                 about the Act is available. The most informative
Rule 37(c), on which Santander also relies, applies only                 source, it appears, is Wikipedia. See Moors Sundry
when a party fails to disclose information it has a duty                 Act of 1790, available at http://en.wikipedia.org/
to provide. As discussed above, discovery has not begun                  wiki/Moors_Sundry_ Act_of_1790, accessed Mar. 23,
in this case, the Court has issued no orders compelling                  2012.
discovery, and Santander is not yet required to provide         24       McCrary v. Runyon, 515 F.2d 1082, 1093–94 (4th
Rule 26(a) disclosures to Khepera–Bey. Accordingly, the                  Cir.1975) (Russell, Field, and Widener, JJ., dissenting
motion will be denied.                                                   in part).
                                                                25       To the extent Khepera–Bey relies on the laws of
 7. Motion to Transfer to “De Jure Venue of Law”                         the Moorish Science Temple, those laws are not
*7 Khepera–Bey asks the Court to                                         “recognized by United States federal courts as
                                                                         binding legal authority.” De Bey, 2012 WL 176586,
           transfer his case to [its] De Jure                            *4.
           venue of LAW within the ... Court ...
           and hereby gives Judicial Notice                          B. Renaissance's Motion to Dismiss and Khepera–
           to terminate, prohibit any further                        Bey's Motion to Amend
           adjudication in the ... [action] in
           any de facto commercial, juridicial                    1. Standards of Review
           venue.                                               Under Fed.R.Civ.P. 12(b)(6), an action may be dismissed
                                                                for failure to state a claim upon which relief can be
ECF No. 68 at 1 (emphasis omitted). He also states that         granted. Rule 12(b)(6) tests the legal sufficiency of a
his complaint “should now be adjudicated in accord with         complaint, but does not “resolve contests surrounding
the Moor Sundry Act of 1790 and not under the Black             the facts, the merits of a claim, or the applicability of
Codes or any artificial persona.” Id.                           defenses.” Presley, 464 F.3d at 483.


                                                                                                                   FDAPP009
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                                                                    the action ... is frivolous [or] ... fails to state a claim on
The Court bears in mind that Rule 8(a)(2) requires only a           which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B)(ii)-
“short and plain statement of the claim showing that the            (iii). Accordingly, the motion to amend will be considered
pleader is entitled to relief.” Migdal v. Rowe Price–Fleming        in light of the Court's duty to dismiss meritless or frivolous
Int'l Inc., 248 F.3d 321, 325–26 (4th Cir.2001). Although           claims. 26
Rule 8's notice-pleading requirements are “not onerous,”
the plaintiff must allege facts that support each element of        26     The Court's scrutiny does not mean that the permitted
the claim advanced. Bass v. E.I. Dupont de Nemours & Co.,
                                                                           amendments necessarily state a claim for which relief
324 F.3d 761, 764–65 (4th Cir.2003). These facts must be
                                                                           may be granted. The Court will not do the work
sufficient to “state a claim to relief that is plausible on its            of the parties in arguing closer questions than those
face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127                  dismissed sua sponte here.
S.Ct. 1955, 167 L.Ed.2d 929 (2007).
                                                                       3. Khepera–Bey's Motion to Amend
This requires that the plaintiff do more than “plead[ ] facts       Khepera–Bey seeks to file a second amended complaint
that are ‘merely consistent with a defendant's liability’           to add state law claims and, he argues, remove allegations
”; the facts pled must “allow[ ] the court to draw the              of criminal violations. ECF No. 35 at 3. The second
reasonable inference that the defendant is liable for the           amended complaint is replete with allegations of criminal
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678,
                                                                    violations. See ECF No. 35–1, Counts 3–14. 27 The
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Twombly,
                                                                    criminal allegations do not state a civil claim for which
550 U.S. at 557). The complaint must not only allege but
                                                                    relief may be granted because they do not provide a private
also “show” that the plaintiff is entitled to relief. Id. at 679.
                                                                    cause of action; those amendments will not be allowed.
“Whe[n] the well-pleaded facts do not permit the court to
infer more than the mere possibility of misconduct, the
                                                                    27     The criminal statutes cited, are: 18 U.S.C. §§ 641, 892,
complaint has alleged—but it has not shown—that the
pleader is entitled to relief.” Id. (internal quotation marks              894, 1028, 1341, 1343, 1951, 1952.
                                                                           Khepera–Bey argues that the second amended
omitted).
                                                                           complaint raised a claim under 18 U.S.C. § 1964,
                                                                           which authorizes a civil cause of action under the
 *8 Under Fed.R.Civ.P. 15(a), the Plaintiff may amend
                                                                           Racketeer Influenced and Corrupt Organizations
his complaint more than 21 days after a Fed.R.Civ.P.                       (“RICO”) laws. ECF No. 55 at 1. He correctly notes
12(b) motion only if the opposing party gives written                      that a person injured by a violation of 18 U.S.C.
consent, or the Court permits the amendment. The                           § 1962 may sue for damages. Id. at 1–2; 18 U.S.C.
Court will allow amendment when justice requires, and                      § 1964(c). However, Khepera–Bey did not rely on
may consider such factors as prejudice to the other                        18 U.S.C. § 1964 or § 1962 in his second amended
parties. Arthur v. Maersk, Inc., 434 F.3d 196, 202–03 (3rd                 complaint or state a civil RICO claim. See ECF No.
Cir.2006) (citing Foman v. Davis, 371 U.S. 178, 182, 83                    35–1.
S.Ct. 227, 9 L.Ed.2d 222 (1962)). Consent will not be               Several of the statutory Maryland claims are subject
given if amendment would be prejudicial to the defendants
                                                                    to dismissal as well. 28 Many of the statutes on which
or futile, or the movant acted in bad faith with dilatory
                                                                    Khepera–Bey relies do not provide private causes of
motive. Equal Rights Ctr. v. Niles Bolton Assocs., 602 F.3d
597, 603 (4th Cir.2010). The Court will determine futility          action. 29 Others do not apply to the facts alleged. 30
under the standard of Fed.R.Civ.P. 12(b)(6). Adorno v.              Some of the remaining amendments will be permitted, as
Crowley Towing & Transp. Co., 443 F.3d 122, 126 (1st                discussed below.
Cir.2006).
                                                                    28     The new, non-criminal claims are based on Maryland
                                                                           statutory and common law torts. See Counts 1–15.
  2. Dismissal of Meritless Claims                                         Accordingly, those claims are not within Federal
Khepera–Bey requested, and was granted, permission to                      Question jurisdiction. Santander “is incorporated as a
proceed in forma pauperis (“IFP”) under 28 U.S.C. § 1915.                  citizen of Maryland.” ECF No. 35–1 ¶ 2. Accordingly,
ECF Nos. 2, 3. Under 28 U.S.C. § 1915(e)(2), the Court                     it is not diverse from Khepera–Bey, also a Maryland
“shall dismiss the case at any time if [it] determines that ...            resident. Jurisdiction over the Maryland law claims


                                                                                                                     FDAPP010
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      thus requires supplemental jurisdiction. The Court          obtained a title to the car. ECF No. 35–1 at 20, 30–31, 37–
      has supplemental jurisdiction because the claims            38, 42, 45–46.
      “form part of the same case or controversy” as the
      FDCPA claims. 28 U.S.C. § 1367.                              *9 To state a claim under the FDCPA, a plaintiff must
29    Those statutes are: Md.Code, Comm. Law §§ 9–107,            show that the defendants are debt collectors. Wilson
      9–303, 9–329; Md.Code, Transp. §§ 13–114(e), 14–            v. Draper & Goldberg, P.L.L.C., 443 F.3d 373, 378
      108; Md. Dep't of Transp. Regulation 11.15.14.07.           (4th Cir.2006). The FDCPA defines a debt collector as
                                                                  “any person who uses any instrumentality of interstate
30    Those statutes are: Md.Code, Comm. Law:                     commerce ... in any business the principal purpose of
        • § 5–109(b) (applies when honoring a presentation        which is the collection of any debts.” 15 U.S.C. § 1692a(6).
           on a letter of credit would facilitate a fraud by
                                                                  It excludes repossession agencies, except for violations
           the beneficiary; Khepera–Bey is the beneficiary,
           he does not allege that Santander would cause          of 15 U.S.C. § 1692f(6). 32 See Wilson, 443 F.3d at 378.
           Khepera–Bey to commit fraud);                          Because Khepera–Bey alleged that Renaissance's only role
        • §§ 5–112 and 5–114 (limit the beneficiary's rights to   was as a repossessor, not a debt collector, the FDCPA
           transfer and assign rights and obligations under       claims against it will be dismissed, except for the § 1692f(6)
           a letter of credit); and                               claim.
        • § 12–602 (prohibits a seller or financier from
           making false representations related to charges,       32     Which prohibits “[t]aking or threatening to take
           rates, and terms of financing).
                                                                         any nonjudicial action to effect dispossession or
                                                                         disablement of property” if the debt collector lacks
  4. Renaissance's Motion to Dismiss                                     the right or intent to take the property as collateral
The Court will consider Renaissance's motion to dismiss                  through an enforceable security interest. 15 U.S.C. §
as if it were directed at the proposed second amended                    1692f(6).
complaint. 31 As noted above, Khepera–Bey will not be             Section 1692f prohibits debt collectors from using “unfair
permitted to amend his complaint to add allegations of            or unconscionable means to collect ... any debt.” Section
crimes or inapplicable Maryland laws. Counts 10, 12, 13,          1692f(6) prohibits “[t]aking or threatening to take any
and 14 name Renaissance and state—after the criminal              nonjudicial action” to repossess property if (A) there is no
and clearly inapplicable claims are removed—FDCPA,                present right to possess the property, or (C) the property
Maryland Consumer Debt Collection Act (“MCDCA”),                  is exempt by law from repossession.
Maryland Consumer Protection Act (“MCPA”), Closed
End Credit, and common law causes of action. ECF No.              Khepera–Bey has not alleged that his car was exempt
35–1 at 30–43.                                                    by law from repossession, and the Court has found no
                                                                  authority for that proposition. Subsection (C) does not
31    See Baldwin v. LIJ N. Shore Health Sys., 392                apply.
      F.Supp.2d 479, 481–82 (E.D.N.Y.2005) (court may
      treat motions as directed at proposed amended               The letter of intent to repossess and the repossession
      complaints to promote judicial efficiency if fair to        are proper bases for § 1692f(6)(A) claims. The other
      the parties); Levy v. Lerner, 853 F.Supp. 636, 638          allegations are either components of the repossession—
      (E.D.N.Y.1994).                                             such as endeavoring to gain title in Santander's name—
                                                                  or do not relate to the right to repossess—such as the lost
  a. FDCPA Claims                                                 property. However, Khepera–Bey alleged that Santander
Khepera–Bey argued that Santander and Renaissance                 did not have the right to repossess the car because it
violated § 1692f(6)(A) and (C) when Santander sent him            had not verified the debt and the underlying contract
a notice of intent to repossess, Renaissance repossessed          was invalid. ECF No. 31–1 at 8–9, 11, 13. Accordingly,
the car, Santander told him it would sell the car unless          one § 1692f (6)(A) claim against Renaissance will survive
Khepera–Bey paid his remaining debt and costs, personal           the motion to dismiss. The § 1692f(6)(C) claim will be
property disappeared from the car while it was in                 dismissed.
Santander's and Renaissance's possession, and Santander




                                                                                                                  FDAPP011
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                                                                 12–1018. A credit grantor is an “entity making a loan or
   b. Maryland Consumer Debt Collection Act Claims
                                                                 other extension of credit.” Id. § 12–1001(g). 34
Khepera–Bey asserts that Renaissance violated the
MCDCA, Md.Code, Comm. Law § 14–202. The MCDCA
                                                                 34     See also Epps v. JP Morgan Chase Bank, N.A., No.
prohibits debt collectors from using threatening or
unfair methods “[i]n collecting or attempting to collect                10–2444, 2012 WL 1134065, *8 (4th Cir. April 5, 2012)
                                                                        (“[T]he CLEC applies to any lender in Maryland.”).
an alleged debt.” Md.Code, Comm. Law § 14–202;
Spencer v. Henderson–Webb, Inc., 81 F.Supp.2d 582,                *10 Khepera–Bey's allegations show that Renaissance
594 (D.Md.1999). Like the FDCPA, the MCDCA only                  was not a credit grantor. Thus, the CLEC does not apply
applies to “collectors”; a collector is “a person collecting     to Renaissance. The CLEC claims against Renaissance
or attempting to collect an alleged debt arising out of          will be dismissed.
a consumer transaction.” Md.Code, Comm. Law § 14–
201(b). A recovery company, which enforces a collector's
security interests, is not a debt collector because enforcing      d. Retail Installment Sales Act
a security interest is not collecting a debt, and the recovery   Khepera–Bey alleged, in count 12, that Renaissance
company generally does not have an interest in the debt (or      and Santander violated the Retail Installment Sales Act
the personal property; it is acting on behalf of the collector   (“RISA”), Md.Code, Comm. Law § 12–601 et seq. ECF
                                                                 No. 35–1 at 38–39. He alleged violations of Md.Code,
or creditor). 33
                                                                 Comm. Law §§ 12–624(d), –625(a), –626(d), and –

33                                                               630(d). 35 Id.
       There is no authority directly considering whether a
       repossession agency is a “collector” in Maryland, and
                                                                 35     Section 12–630 lists remedies for violations of the
       the Maryland Code does not define “debt.” However,
       the Commercial Law section of the Maryland Code                  RISA. Md.Code, Comm. Law § 12–630. Renaissance
       defines “security interest” as “an interest in personal          cannot have “violated” it, but Khepera–Bey will not
       property ... which secures payment or performance                be faulted for noting the statute that delineates his
       of an obligation.” Md.Code, Comm. Law § 1–                       potential remedies.
       201(37) (general definitions). Thus, the definition
                                                                 Section 12–624(d) states that a holder 36 must, within five
       distinguishes the interest in personal property from
                                                                 days of repossessing goods sold under a RIC, send the
       the obligation to pay. Id. Further, a repossessor
       cannot be said to be attempting to collect a debt when    buyer a written notice that tells the buyer (1) about his
       it takes property; it has no right to collect the debt,   right to redeem the goods and how much he needs to pay
       and has been hired only to physically take, store,        to do so, (2) about his right to a resale and liability for
       or sell the property on behalf of the collector. See      a deficiency, and (3) the exact location of the collateral
       Green v. Ford Motor Credit Co., 152 Md.App. 32,           and the address where payment or notice should be made.
       828 A.2d 821, 825 (Md.Ct.Spec.App.2003) (noting           Md.Code, Comm. Law § 12–624(d).
       that defendant, a collector, “use[s] the services of [a
       repossessor] for the repossession, storage and sale       36     A holder is an entity entitled to enforce an installment
       of cars repossessed by [the defendant],” and thus
                                                                        sales agreement against a buyer. Md.Code, Comm.
       implying that the repossessor is not a collector).
                                                                        Law § 12–601(l).
Accordingly, Khepera–Bey's MCDCA claims against
                                                                 Khepera–Bey's allegations make clear that he contends
Renaissance will be dismissed.
                                                                 Santander, not Renaissance, violated § 12–624(d). See
                                                                 ECF No. 35–1 at 37. Aside from repossessing the car and
   c. Maryland Closed End Credit Provisions                      moving it across county lines, count 12 does not mention
Count 12 alleges that Santander's collection efforts, and        Renaissance, but it states that “Santander['s] notice [of
Renaissance's repossession, were unlawful. ECF No. 35–1          intent] to sell” violated Maryland law. Id. Accordingly,
at 37–39. Khepera–Bey asserts that Renaissance violated          Khepera–Bey did not allege that Renaissance violated §
Md.Code, Comm. Law § 12–1021, part of the Credit                 12–624(d). To the extent that claim is directed against
Grantor Closed End Credit provisions (“CLEC”). The               Renaissance, it will be dismissed. Section 12–625(a) states
CLEC regulates credit grantors. Md.Code, Comm. Law §             that the holder must retain the repossessed goods for 15



                                                                                                                  FDAPP012
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days after giving the buyer notice of repossession, in the                 (1) False, falsely disparaging, or misleading ...
county where goods were sold or repossessed.                               statement ... which has the capacity ... of deceiving or
                                                                           misleading consumers;
Khepera–Bey alleged that he bought the car in Lanham,                      (2) Representation that:
                                                                               (i) Consumer goods, consumer realty, or consumer
Maryland—in Prince George's County—Renaissance and
                                                                               services have a sponsorship, approval, accessory,
Santander repossessed the car in Baltimore, Maryland,
                                                                               characteristic ... or quantity which they do not
and moved it to Elkridge, Maryland—which is in Howard
                                                                               have; [or]
County. ECF No. 35–1 at 37. Accordingly, he has alleged
                                                                               (ii) A merchant has a sponsorship, approval, status,
that Santander and Renaissance held the car in the wrong                       affiliation, or connection which he does not have; ...
county, in violation of § 12–625(a).                                       (3) Failure to state a material fact if the failure tends
                                                                           to deceive;
Section 12–626(d) states that the holder must notify the                   (4) Disparagement of the goods ... of another by a
buyer in writing of the time and place of a sale at least 10               false or misleading representation of a material fact;
days before the sale, if the buyer has requested a public                  ...
                                                                           (8) False statement which concerns the reason for
sale. Md.Code Comm. Law § 12–626(d). 37 Khepera–Bey
                                                                           offering or supplying consumer goods, consumer
did not ask Renaissance to sell the car; § 12–626 does not
                                                                           realty, or consumer services at sale or discount prices;
apply to the transaction. That claim will be dismissed.
                                                                           (9) Deception, fraud, false pretense, false
                                                                           premise, misrepresentation, or knowing concealment,
37     Subsection (d) is limited by subsection (a), which                  suppression, or omission of any material fact with the
       states that “the holder shall sell any repossessed goods            intent that a consumer rely on the same in connection
       at public auction if the buyer ... [timely] requests sale           with:
       of the goods in writing.” See Md.Code, Comm. Law §                      (i) The promotion or sale of any consumer goods,
       12–626(e)(1) (noting that subsection (e) applies to “[a]                consumer realty, or consumer service;
       public sale held under the provisions of this section [§                (ii) A contract or other agreement for the
       12–626]” and “[a]ny other bona fide public or private                   evaluation, perfection, marketing, brokering or
       sale of goods ... if the buyer ... has not requested a                  promotion of an invention; or
       public sale under subsection (a) of this section”; thus                 (iii) The subsequent performance of a merchant
       implying that the other provisions of “this section”                    with respect to an agreement of sale, lease, or rental;
       only apply when (a) applies). Accordingly, subsection                   tor]
       (d) does not apply when the buyer has not requested                 (11) Use of any plan or scheme in soliciting sales
       a sale.                                                             or services over the telephone that misrepresents the
                                                                           solicitor's true status or mission.
   e. Maryland Consumer Protection Act Claims
The MCPA prohibits the use of unfair or deceptive                     d. Common Law Claims
trade practices in the sale of goods, extension of credit,          Finally, Khepera–Bey alleged in counts 10 and 12
and collection of consumer debts, among other things.               that Renaissance is liable for slander, trespass, trespass
Md.Code, Comm. Law § 13–303.                                        to chattel, and “trespass to personal property with
                                                                    conversion (strict liability).” ECF No. 35–1 at 31, 38–39.
Khepera–Bey       alleged     that     Renaissance       violated
subsections one through four, eight, nine, and eleven. 38            *11 To plead a defamation 39 claim, the plaintiff must
ECF No. 35–1 at 38. He has not alleged that Renaissance             allege
engaged in any of the deceptive acts listed in those
subsections. See id. His MCPA claim against Renaissance             39     Slander is a type of defamation. See Piscatelli v. Van
will be dismissed.                                                         Smith, 424 Md. 294, 317, 35 A.3d 1140, 1153–54
                                                                           (2012).
38     Those subsections state that “Unfair or deceptive
       trade practices include any:                                   (1) that the defendant made a defamatory statement to a
                                                                      third person, (2) that the statement was false, (3) that the




                                                                                                                        FDAPP013
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   defendant was legally at fault in making the statement,          Bey was not required to pay the debt; and (4) he was
   and (4) that the plaintiff thereby suffered harm.                embarrassed and upset by the statement. ECF No. 35–
   Piscatelli v. Van Smith, 424 Md. 294, 306, 35 A.3d 1140,         1 at 32. As a statement imputing inability to pay debts
   1147 (2012) (internal quotation marks and citations              requires proof of monetary, rather than emotional, harm,
   omitted).                                                        Khepera–Bey has not stated a claim for defamation. 41
A statement is defamatory if it “tends to expose a
person to public scorn, hatred, contempt, or ridicule.”             41     Nor has Khepera–Bey alleged severe emotional
Id. (internal quotation marks and citations omitted). A                    distress as a result of the statement. He alleged that he
false statement “is not substantially correct.” Id. Harm                   was “emotionally stressed” and that the loss of his car
can include emotional distress, but only if “there is a                    affected his daily activities, but not that the statement
publication of false and defamatory matter from which                      so severely distressed him that “he has been unable to
harm to reputation is presumed”—defamation per se.                         attend to his daily activities or that no person would
Hearst Corp. v. Hughes, 297 Md. 112, 127, 466 A.2d 486,                    be expected to endure such a situation,” or physical
                                                                           complications, which would be necessary to establish
493 (1983).
                                                                           severe emotional distress. See Figueiredo–Torres v.
                                                                           Nickel, 321 Md. 642, 655–56, 584 A.2d 69, 76 (1991).
Statements that impute: (1) the commission of a crime, (2)
unchastity or immorality, (3) injury to profession, trade,          Khepera–Bey has stated a claim for trespass because he
or business, or (4) injury to employment, are defamatory            alleged that Renaissance's employee voluntarily entered
per se. 14 Md. Law Encyc. Libel & Slander §§ 6–13. A                Khepera–Bey's driveway without his consent and stayed
statement that the plaintiff cannot pay his debts, or is            without a privilege. Mitchell v. Balt. Sun Co., 164 Md.App.
insolvent, is not defamatory per se unless the plaintiff            497, 883 A.2d 1008, 1014 (Md.Ct.Spec.App.2005).
shows that he is engaged in a business that requires credit.
Ekweani v. Atl. City Emps. Credit Union, 43 F.3d 1466               Khepera–Bey's trespass to chattel claim will survive,
(table), 1994 WL 696519, *2 (4th Cir.1994) (applying                construed as a conversion claim, as he alleged that
                                                                    Renaissance “exercised ... a control or dominion over[ ]
Georgia law). 40
                                                                    personal property to which [it] ha[d] no right of possession
                                                                    at the time,” depriving Khepera–Bey of his right to the
40     Maryland does not appear to have addressed the               car. Gallardo v. FedEx Kinko's Office & Print Servs., Inc.,
       issue directly, but has implied that it follows this rule.
                                                                    No. 08–0392–JFM. 2008 WL 2143011, *3 (D.Md. May
       See, e.g., Gooch v. Md. Mech. Sys., Inc., 81 Md.App.
                                                                    12, 2008); Staub v. Staub, 37 Md.App. 141, 376 A.2d 1129,
       376, 567 A.2d 954, 966 (Md.Ct.Spec.App.1990)
                                                                    1131 (Md.Ct.Spec.App.1977).
       (“To say or publish of a merchant anything that
       imputes insolvency [or] inability to pay his debts” is
       defamatory per se. (emphasis added)).                        There is no tort of “trespass to personal property with
                                                                    conversion (strict liability)” in Maryland. That claim will
Khepera–Bey alleged that: (1) Renaissance's employee
                                                                    be dismissed.
accused him, in front of neighbors, of failing to pay his
bills; (2) he was not required to pay his car payments
because the debt was disputed, the contract was invalid,              4. Remaining Claims
and Santander had not properly acquired the RIC; and                The remaining claims are:
(3) Renaissance willfully ignored evidence that Khepera–
                 Claim                                  Against                                  “Count”

               FDCPA:

                 1692c                                  Santander                                II

                 1692e                                  Santander                                I, II, III, IV, IX, XI,
                                                                                                 XII, XV




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            1692f(1)                      Santander                          I, II, III, IV, V, VI,
                                                                             VII, VIII, IX, X, XI,
                                                                             XII, XIII, XIV, XV

            1692f(6)                      Santander,                         VI (Santander
                                          Renaissance                        only), X, XII, XIV,
                                                                             XV

             1692g                        Santander                          I, II, III, IV, V, VI,
                                                                             VII, VIII, IX, X, XI,
                                                                             XII, XIII, XIV, XV

              1692j                       Santander                          I, II, III, IV, V, VI,
                                                                             VII, VIII, IX, XI,
                                                                             XII, XIV, XV

          MCDCA:                          Santander                          I, II, III, IV, V, VI,
       Md.Code, Comm.                                                        VII, VIII, IX, X, XI,
        Law § 14–202                                                         XII, XIII, XIV, XV

       18 U.S.C. § 1666                   Santander                          IV, V

           18 U.S.C.                      Santander                          XI
            § 1666a

             RISA:

       §§ 12–605 to 607                   Santander                          VIII, XI, XII

       §§ 12–624 to 630                   Santander,                         XII
                                          Renaissance

       CLEC: § 12–1021                    Santander                          XII

        MCPA: §§ 13–                      Santander,                         XII, XV
         301 to 303                       Renaissance                        (Santander only)

            FCRA:

          15 U.S.C.                     Santander                           XI
          § 1681S–2

           15 U.S.C.                    Santander                           XI
           § 1681m

           15 U.S.C.                    Santander                           XI
            § 1681b

           15 U.S.C.                    Santander                           XI
            § 1681q

           Slander/                     Santander,                          X, XI (Santander
          Defamation                    Renaissance                         only)




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            Conversion                           Santander,                                     X
                                                 Renaissance

              Trespass                           Santander,                                     X, XII
                                                 Renaissance

                                                                    if he succeeds on his FDCPA, FCRA, MCDCA, and
  C. Progression of the Case                                        common law claims.
 *12 Khepera–Bey's motions have prevented the timely
progression of this case. He is instructed that the
                                                                    III. Conclusion
defendants need not provide him with discovery until the
                                                                    For the reasons stated above, Khepera–Bey's motion to
Court sets a discovery schedule.
                                                                    file a second amended complaint will be granted in part
                                                                    and denied in part. His other motions will be denied.
Khepera–Bey should keep in mind that, if he succeeds on
                                                                    Renaissance's motion to dismiss the second amended
his claim that the RIC was invalid when it was made, he
                                                                    complaint will be granted in part and denied in part.
may have to return the car (because he no longer has a
purchase contract for it), and pay for the value of using the
car for the past seven years (but his total car payments to         All Citations
date may offset that amount). That transaction would not
prevent him from recovering statutory or other damages              Not Reported in F.Supp.2d, 2012 WL 1965444

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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

LANDMARK GRAPHICS CORP. et al.,     §
                                    §
                 Plaintiffs,        §
                                    §
v.                                  § CIVIL ACTION NO. H-05-2618
                                    § (Consolidated with H-06-1790)
SEISMIC MICRO TECHNOLOGY, INC., §
                                    §
                 Defendant.         §
______________________________________________________________________
PARADIGM GEOPHYSICAL                §
CORPORATION,                        §
                                    §
                 Plaintiff,         §
                                    §
v.                                  §
                                    §
MAGIC EARTH, INC., et al.,          §
                                    §
                 Defendants.        §

  MEMORANDUM AND OPINION ON LANDMARK’S MOTION TO DISMISS
     AND STRIKE SEISMIC MICRO-TECHNOLOGY, INC.’S SECOND
          AFFIRMATIVE DEFENSE AND COUNTERCLAIM

       The plaintiffs, Landmark Graphics Corporation and Magic Earth, Inc. (together,

“Landmark”), moved under Rule 12(b)(6) to dismiss Seismic Micro-Technology, Inc.’s

(“SMT”) second affirmative defense and counterclaim for a declaratory judgment that the

‘570 Patent is unenforceable due to inequitable conduct. Landmark asserted that the defense

and counterclaim had to be pleaded with the particularity required under Rule 9(b) of the

Federal Rules of Civil Procedure and did not meet that standard. Landmark also moved to


                                            1


                                                                                   FDAPP017
  Case
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strike the allegations of inequitable conduct on the ground that they improperly “impugn[ed]

the reputations” of the counterdefendants. (Docket Entry No. 44 at 10).

       In response, SMT filed a First Amended Answer, Affirmative Defenses, and

Counterclaims and argued that this filing made the motion to dismiss moot and that the

amended pleading was sufficiently detailed to overcome any deficiencies under Rule 9(b).

SMT also argued that Rule 12(f) did not provide a basis for removing any of the allegations.

       Landmark has not reurged its motion to dismiss under Rule 12(b)(6) since SMT filed

its First Amended Answer, Affirmative Defenses, and Counterclaims. In an oral hearing,

Landmark confirmed that its motion to dismiss under Rule 12(b)(6) is moot. As to the

motion to strike, SMT acknowledges that Landmark did not include in its First Amended

Answer, Affirmative Defenses, and Counterclaims the “disparaging” allegations that were

the subject of the Rule 12(f) motion. SMT nonetheless asserts that it is entitled to a ruling

striking the allegations from the superseded original Answer. (Docket Entry No. 49 at 2).

SMT responds that “courts do not entertain motions to strike superseded pleadings.” (Docket

Entry No. 50 at 1).

       Rule 12(f) states:

              Upon motion made by a party before responding to a pleading
              or, if no responsive pleading is permitted by these rules, upon
              motion made by a party within 20 days after the service of the
              pleading upon the party or upon the court's own initiative at any
              time, the court may order stricken from any pleading any
              insufficient defense or any redundant, immaterial, impertinent,
              or scandalous matter.



                                             2


                                                                                     FDAPP018
  Case
    Case
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FED. R. CIV. P. 12(f). Rule 12(f) motions require a showing of prejudice. See Boyd's Bit

Service, Inc. v. Specialty Rental Tool & Supply, Inc., 332 F.Supp.2d 938, 944 (W.D. La.

2004) (“[S]uch motions are disfavored and will usually be denied unless the allegations have

no possible relevance to the controversy and may cause prejudice to one of the parties.”);

Auto Wax Co., Inc. v. Mothers Polishes Waxes Auto Wax Co., 2002 WL 368526, at *5 (N.D.

Tex.) (“Conclusory statements about unfair prejudice . . . are not enough to justify its motion

to strike; a stronger showing is required under FED. R. CIV. P. 12(f).”); see generally 5C

Charles Allan Wright Arthur R. Miller, FED. PRACTICE AND PROCEDURE § 1380, at 397 (3d

ed. 2004).

       SMT correctly points out that the allegations raised in the original answer or

counterclaim and subsequently dropped in amended pleadings have been superseded. It is

well settled that an amended pleading supersedes the pleading it modifies. See, e.g., 6

Charles A. Wright & Arthur R. Miller, FED. PRACTICE AND PROCEDURE § 1476, at 556 (2d

ed.1990). Similarly, any alleged facts made in the original counterclaim and not incorporated

in the amended counterclaim have been “amended away.” Hibernia National Bank v.

Carner, 997 F.2d 94, 101 (5th Cir.1993). Granting the motion to strike the allegations in the

now-superseded pleading does not provide relief greater than the amendment itself has

already provided. The motion to strike, (Docket Entry No. 44), is denied as moot.

              SIGNED on January 22, 2007, at Houston, Texas.

                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge

                                              3


                                                                                      FDAPP019
       Case 1:18-cv-00068
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                                                             appearance and corporate disclosure statement, however,
                                                             were filed on behalf of Wells Fargo Home Mortgage,
                 2011 WL 884456
                                                             Inc. As Plaintiffs correctly pointed out, Wells Fargo
   Only the Westlaw citation is currently available.
                                                             Home Mortgage, Inc. is not a party in interest to their
     United States District Court, D. Vermont.
                                                             residential mortgage and is not a party to this litigation.
         John NORTON–GRIFFITHS,                              After further research, Defendant agreed and, through its
      Marilyn Norton–Griffiths, Plaintiffs,                  counsel, moved to amend, nunc pro tunc, its corporate
                     v.                                      disclosure statement and previous self-identification in its
                                                             filings. Plaintiffs opposed that motion.
  WELLS FARGO HOME MORTGAGE, Defendant.

                    No. 5:10–cv–169.                         The court subsequently denied Defendant's motion to
                            |                                amend without prejudice, requiring, as a condition
                     March 11, 2011.                         precedent to the proposed amendment, that Defendant's
                                                             counsel file a declaration under oath, identifying the
Attorneys and Law Firms                                      corporate entity they represent and explaining how
                                                             that entity allegedly came to hold Plaintiffs' residential
John Norton–Griffiths, Rutland, VT, pro se.                  mortgage. Defendant has filed a declaration that complies
                                                             with the court's Order. Plaintiffs nonetheless continue
Marilyn Norton–Griffiths, Rutland, VT, pro se.
                                                             to oppose Defendant's motion to amend, arguing that
Andre D. Bouffard, Esq., Downs Rachlin Martin PLLC,          “the Declaration is not in accordance with the Court's
Burlington, VT, Merritt S. Schnipper, Esq., Downs            Decision and Order [Document 28] and is, in and of itself,
Rachlin Martin PLLC, Brattleboro, VT, for Defendant.         False, states No Facts which are of the deponent's Own
                                                             Knowledge and may prove to be Perjury.” (Doc. 34 at 1.)
                                                             Plaintiffs ask the court to hold an evidentiary hearing so
  ENTRY ORDER GRANTING DEFENDANT'S                           that they may examine Defendant's counsel under oath
    RENEWED MOTION TO AMEND AND                              regarding the Declaration.
 GRANTING IN PART AND DENYING IN PART
PLAINTIFFS' MOTION TO AMEND (Docs. 30 & 32)                  Rule 15 of the Federal Rules of Civil Procedure provides
                                                             that leave to amend should be “freely give[n] ... when
CHRISTINA REISS, Chief Judge.                                justice so requires.” Fed. R Civ. P. 15(a)(2). “The rule
                                                             in this Circuit has been to allow a party to amend its
 *1 This matter comes before the court on Defendant's        pleadings in the absence of a showing by the nonmovant
motion to amend its filings, nunc pro tunc, to correct       of prejudice or bad faith.” Block v. First Blood Assocs.,
the name of the corporate defendant in its filings in this   988 F.2d 344, 350 (2d Cir.1993); see also State Teachers
action (Doc. 32), and on Plaintiffs' motion to amend the     Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir.1981)
Complaint (Doc. 30).                                         (“Reasons for a proper denial of leave to amend include
                                                             undue delay, bad faith, futility of the amendment, and
Plaintiffs filed this action, alleging that Defendant        perhaps most important, the resulting prejudice to the
had failed to properly implement Plaintiffs' proposed        opposing party.”). A court must have “good reason” to
modification to the interest rate set forth in Plaintiffs'   deny leave to amend. See Kropelnicki v. Siegel, 290 F.3d
residential mortgage, and asserting, among other things,     118, 130 (2d Cir.2002).
that Defendant has violated a number of federal laws and
regulations in its dealings with Plaintiffs.                  *2 Plaintiffs challenge the Declaration on the grounds
                                                             that it does not comport with proper corporate
                                                             governance in that Attorney Schnipper allegedly lacks
   I. Defendant's Motion to Amend its Filings.
                                                             legal authority to speak on behalf of his client. The
In their initial Complaint, Plaintiffs alleged that Wells
                                                             Declaration complies with the court's Order and nothing
Fargo Home Mortgage, a division of Wells Fargo
                                                             more is required. Defendant is entitled to amend its filings
Bank, N.A., held their residential mortgage and asserted
                                                             with this court and Plaintiffs are entitled to challenge
claims against that entity. Defendant's original notice of


                                                                                                          FDAPP020
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those filings, as amended. Defendant's motion for leave to       were $7,051.02. Plaintiffs further allege that, in September
amend nunc pro tunc (Doc. 32) is hereby GRANTED.                 1998, they “refinanced” the Home Equity Loan through
                                                                 Norwest Mortgage, Inc., which paid off the May 1998
                                                                 loan. The refinancing was for $186,000, and the amount of
   II. Plaintiffs' Motion for Leave to Amend the                 points and fees related to this transaction was $5,633.50.
   Complaint.                                                    Plaintiffs assert that this, too, is a “Home Equity
By Opinion and Order dated January 7, 2011, the court            Loan.” (Doc. 30–13 at 13–14.) Plaintiffs received a TILA
granted Defendant's partial motion to dismiss certain            disclosure with this September 1998 transaction. Based on
claims set forth in Plaintiffs' initial Complaint for failure    these facts, Plaintiffs allege that their mortgage loan is
to state a claim. In particular, the court found that            not a “residential mortgage transaction,” as defined in 15
Plaintiffs had failed to plead facts that would support a        U.S.C. § 1602(w), but is, instead, a “Home Equity Loan.”
legal conclusion that Defendant had violated the Truth           Accordingly, they argue that their residential mortgage
in Lending Act, 15 U.S.C. §§ 1601–1667 (the “TILA”).             falls within 15 U.S.C. § 1602(aa) that defines all remaining
In addition, the court concluded that Plaintiffs had failed      mortgages other than a residential mortgage transaction.
to set forth a factual basis for their allegations that
Defendant had violated 15 U.S.C. §§ 1639(b)(2)(A) and             *3 Plaintiffs, however, acknowledge that § 1602(aa)
1639(f) of the Home Ownership Equity Protection Act of           imposes two additional requirements for protection under
1994 (“HOEPA”). In so ruling, the court granted Plaintiffs       HOEPA which they cannot satisfy: (1) the rate of interest
leave to amend their Complaint “to assert facts in support       must exceed a yield on certain Treasury securities by more
of their HOEPA claims as Plaintiffs raised those claims for      than 10%; or (2) the total points and fees payable at
the first time in their briefs and thus may have not set forth   closing must exceed the greater of 8% or $400. Conceding
all of the facts upon which their claims are based.” (Doc.       that their Home Equity Loan does not satisfy these
26 at 12.)                                                       requirements, they ask the court to “consider and take
                                                                 its own view on the terms of this statutory definition in
Plaintiffs' proposed Amended Complaint includes                  15 USC § 160[2](aa).” (Doc. 30–1 at 4.) As a matter of
additional facts relevant to their HOEPA claims. Plaintiffs      statutory interpretation, Plaintiffs ask the court to find
also seek to add claims of alleged violations to the             that it would be absurd to construe HOEPA in a manner
Fair Credit Reporting Act, 15 U.S.C. §§ 1681–1681x               that leaves their residential mortgage without some form
(“FCRA”) and the Real Estate Settlement Procedures               of truth-in-lending protections.
Act, 12 U.S.C. §§ 2601–2617 (“RESPA”).
                                                                 In light of the plain and unambiguous statutory
Defendants oppose Plaintiffs' motion to amend, arguing           requirements for HOEPA protection, the court cannot
that: (1) it is untimely; (2) Plaintiffs failed to seek          create protections which Congress has declined to
Defendant's consent to their proposed amendments as              enact through the guise of statutory interpretation. See
required by Local Rule 7(a)(7); (3) Plaintiffs' additional       Montefiore Hosp. & Med. Ctr. v. NLRB, 621 F.2d 510,
facts do not state a claim under HOEPA; (4) there is no          514 (2d Cir.1980) (“[c]onfronted with [a statute] whose
private right of action under FCRA; and (5) Plaintiffs'          language is crystal clear [, a court] cannot disregard the
proposed Amended Complaint contains legal arguments              ordinary meaning of plain language[.]”). On the other
and questions that should not be included in a complaint         hand, Plaintiffs may include their additional facts in
and are impossible to answer.                                    their proposed Amended Complaint and may argue in
                                                                 favor of an extension of HOEPA-like protections to
                                                                 their particular situation, provided there is a nonfrivolous
  A. Plaintiffs' HOEPA Claims.
                                                                 basis for doing so. SeeFed.R.Civ.P. 11(b)(2) (every
Plaintiffs identify a number of additional facts in support
                                                                 pleading contains a certification to the court that “the
of their HOEPA claims, including an allegation that
                                                                 claims ... or other legal contentions are warranted by
Plaintiffs executed a mortgage dated May 13, 1998, to
                                                                 existing law or by a nonfrivolous argument for extending,
secure a debt in the original amount of $173,448.98,
                                                                 modifying, or reversing existing law or for establishing
which was paid off in September 1998. Plaintiffs describe
                                                                 new law[.]”). Leave to amend to include Plaintiffs'
this “Mortgage Loan” as a “Home Equity Loan.” (Doc.
                                                                 proposed HOEPA claims as currently framed is thus
30–13 at 13.) The points and fees for this transaction


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hereby DENIED WITHOUT PREJUDICE. However,                      has not informed them of the negative reports it has
leave to amend to include Plaintiffs' additional facts it is   provided the credit reporting agencies. Plaintiffs allege
hereby GRANTED.                                                that Defendant reported credit information regarding
                                                               Plaintiffs that Defendant knows to be false.

   B. Plaintiffs' RESPA Claim.                                 Defendant asks the court to deny Plaintiffs leave to
“The purpose of RESPA is to address ‘certain abusive           amend to file their proposed FCRA claim because FCRA
practices that have developed’ in relation to the disclosure   does not provide a consumer with a private right of
of information regarding the ‘nature and costs of the          action against any person who willfully or negligently
[real estate] settlement process.’ “ Flaggv. Yonkers Sav.      fails to comply with any requirement imposed by FCRA
& Loan Ass'n, FA, 396 F.3d 178, 184 (2d Cir.2005)              with respect to that consumer. 15 U.S.C. §§ 1681n(a),
(quoting 12 U.S.C. § 2601). Plaintiffs' RESPA claim is         § 1681o(a). Instead, “[t]he provisions of law described
premised on certain subsections of § 2605, which provide       in paragraphs (1) through (3) of subsection [1681s–2](c)
that a consumer may request information concerning             of [FCRA] ... shall be enforced exclusively as provided
his or her mortgage loan from a loan servicer by               under section 1681s of this title by the Federal agencies
sending a qualified written request. In turn, the servicer     and officials and the State officials identified in section
must first acknowledge and then answer the request             1681s of this title.” 15 U.S .C. § 1681s–2(d). Numerous
within twenty and sixty days, respectively. 12 U.S.C.          cases in the Second Circuit support that conclusion.
§§ 2605(e)(1)(A) and (e)(2). In their proposed Amended         See, e.g., MacPherson v. JP Morgan Chase Bank, N.A.,
Complaint, Plaintiffs allege that none of Defendant's          2010 WL 3081278, at *4 n. 6 (D.Conn. Aug. 5, 2010)
“supposed ‘acknowledgments' “ to Plaintiffs' first three       (“[T]here is no private right of action for such a violation
qualified communications comply with the requirements          [under § 1681s–2](a) ], and individuals aggrieved by a
of § 2605(e)(1)(A), and that Defendant “never bothered         violation based on this provision must rely on state
to acknowledge” their remaining communications. (Doc.          or federal officials to sue on their behalf pursuant to
30–13 at 24, citing Docs. 30–7, 30–8, 30–9, 30–11, 30–14.)     15 U.S.C. § 1681s(c).”); White, 378 F.Supp.2d at 423
                                                               (“[S]ubsection [1681s[–2](c) provides that there is no
 *4 Defendant does not oppose Plaintiffs' motion to            private damage remedy for violation[ ] of Section] 1681s
amend their Complaint to add the RESPA claim, and              [–2](a) ..., and subsection (d) then provides that only
Plaintiffs have asserted sufficient facts to support that      federal and state agencies may seek redress for violations
claim. Provided Plaintiffs comply with those provisions of     of subsection[ ] (a)....”); Trikas v. Universal Card Servs.
this Order governing compliance with the Local Rules and       Corp., 351 F.Supp.2d 37, 44 (E.D.N.Y.2005) (“First,
the Federal Rules of Civil Procedure, the court GRANTS         there is no private right of action under section 1681s–
Plaintiffs leave to amend their Complaint to add the           2(a), which requires ‘furnishers of information’ to provide
RESPA claim.                                                   accurate information to consumer reporting agencies.”)
                                                               (citation omitted); Kane v. Guaranty Residential Lending,
                                                               Inc., 2005 WL 1153623, at *4 (E.D.N.Y. May 16, 2005)
  C. Plaintiffs' FCRA Claim.
                                                               (“While plaintiffs may not enforce the terms of § 1681s–
FCRA “requires consumer reporting agencies ‘to follow
                                                               2(a) through a private cause of action, they can report
reasonable procedures to assure the maximum possible
                                                               violations to the Federal Trade Commission, which is
accuracy of the information concerning the individual
                                                               authorized to enforce the terms of Subsection[ ](a) under
about whom the report relates.’ “ White v. First Am.
                                                               the FCRA.”) (citation omitted).
Registry, Inc., 378 F.Supp.2d 419, 420 (S.D.N.Y.2005)
(quoting 15 U.S.C. § 1681e(b)). Section 1681s–2(a)
                                                                *5 Consequently, because Plaintiffs' proposed Amended
imposes a duty on “furnishers of information” to “provide
                                                               Complaint does not allege facts that state a claim under
accurate information” to consumer reporting agencies.
                                                               FCRA § 1681s–2(a), their proposed amendment is futile
Plaintiffs allege in their proposed Amended Complaint
                                                               and must be DENIED. See Dougherty v. Town of N.
that Defendant has reported their loan to credit reporting
                                                               Hempstead Bd. of Zoning Appeals, 282 F.3d 83, 88 (2d
agencies as delinquent since May or June 2010 and, as a
                                                               Cir.2002) (“An amendment to a pleading will be futile if a
consequence, the credit limit on two of their credit cards
has been reduced. They further allege that Defendant


                                                                                                            FDAPP022
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proposed claim could not withstand a motion to dismiss        request for leave to amend. This requirement is not a
pursuant to Rule 12(b)(6).”).                                 meaningless gesture. It allows the parties through the
                                                              consent process to narrow the scope of any dispute
                                                              regarding the proposed amendments prior to seeking
   D. Plaintiffs' Alleged Non–Compliance.                     judicial involvement regarding the same. Of course, it
Defendant asks the court to deny Plaintiffs leave to amend    further follows that a defendant may withhold its consent
because Plaintiffs have failed to comply with the court's     only on a good faith basis.
deadline for doing so, failed to seek Defendant's consent,
and have filed a thirty-six page proposed Amended              *6 Finally, Defendant asks the court to deny Plaintiffs
Complaint that contains sixteen pages of “Memorandum          leave to amend the proposed Amended Complaint in
& Argument” and a “Conclusion” consisting of five pages       the form in which it has been submitted because it
of questions to be answered in a jury trial which Defendant   contains legal arguments and questions that cannot
claims are both improper and impossible to admit or deny.     be readily answered and which are beyond the scope
                                                              of pleading authorized by the Federal Rules of Civil
Although Plaintiffs are self-represented, they have           Procedure. Fed.R.Civ.P. 8(a)(2) requires “a short and
demonstrated that they are familiar with this court's Local   plain statement of the claim showing that the pleader
Rules and with the Federal Rules of Civil Procedure. In       is entitled to relief.” Fed.R.Civ.P. 8(d)(1) further states
addition, the court's records reveal that Plaintiffs have     that “[e]ach allegation must be simple, concise, and
filed several lawsuits in the District of Vermont and have    direct.” However, “[n]o technical form is required.” Id.
been parties to others. Accordingly, Plaintiffs are not       Plaintiffs' proposed Amended Complaint contains legal
neophytes in the litigation process. In its January 7, 2011   arguments and questions that cannot be answered by
Opinion and Order, the court directed Plaintiffs to comply    a “short and plain” admission, denial, or defense as
with the court's deadline, its Local Rules, and the Federal   contemplated by Fed.R.Civ.P. 8(b). Although Plaintiffs'
Rules of Civil Procedure in filing a proposed Amended         proposed Amended Complaint is not deficient as to form,
Complaint.                                                    it contains surplusage that is likely to render it difficult
                                                              to isolate those allegations which are contested from
The court excuses Plaintiffs' one-day delay in complying      those allegations that are not. Plaintiffs are thus hereby
with the court's deadline of twenty days, finding any delay   ORDERED to omit from their proposed Amended
de minimus and excused by Plaintiffs' efforts to comply       Complaint any legal arguments and questions. In doing
with the court's deadline through electronic filings that     so, Plaintiffs shall not be deemed to have waived their right
failed for technical reasons.                                 to present their legal arguments and their questions at a
                                                              later time.
As to the requirement that Plaintiffs seek Defendant's
consent for their proposed amendments as required
                                                                III. Conclusion.
by Local Rule 7(a)(7), Plaintiffs argue that they were
                                                              The deadline for Plaintiffs' compliance with this court's
previously granted leave to amend their HOEPA claims,
                                                              January 7, 2011 Opinion and Order is hereby extended
they had already announced their intention to file
                                                              until April 4, 2011 so that Plaintiffs may comply with the
FCRA and RESPA claims, and that in light of the
                                                              Local Rules, the Federal Rules of Civil Procedure, and this
history between the parties, “Plaintiffs had no doubt
                                                              Entry Order, as a condition precedent to seeking leave to
they would be wasting their time, on this occasion, by
                                                              amend their complaint.
even asking” and “had no wish to subject themselves
to further displays of Counsel's incivility and animosity
                                                              SO ORDERED.
[.]” (Doc. 35 at 3–4.) Noncompliance with this court's
Local Rules cannot be excused on the basis of anticipated
incivility and the court's previous leave to amend clearly    All Citations
extended only to Plaintiffs' HOEPA claims. Plaintiffs
must therefore first seek Defendant's consent to their        Not Reported in F.Supp.2d, 2011 WL 884456
proposed Amended Complaint before renewing their




                                                                                                            FDAPP023
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                                                                                                           FDAPP024
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Walker Case   1:18-cv-00068
       v. Walker,                 Document
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                                                                 Petition and in the alternative to strike the portions that
                                                                 contain legal conclusions or arguments.
                  2011 WL 3757314
    Only the Westlaw citation is currently available.
             United States District Court,
                    N.D. Illinois,                                                LEGAL STANDARD
                  Eastern Division.
                                                                 Pursuant to Federal Rule of Civil Procedure 12(f),
              Iain WALKER, Petitioner,                           “[t]he court may strike from a pleading an insufficient
                        v.                                       defense or any redundant, immaterial, impertinent, or
          Norene Ann WALKER, Respondent.                         scandalous matter.” Fed.R.Civ.P. 12(f). Motions to strike
                                                                 are generally disfavored since they usually “disserve the
                       No. 11 C 2967.                            interest of judicial economy.” Redwood v. Dobson, 476
                              |                                  F.3d 462, 471 (7th Cir.2007); See also Heller Financial,
                       Aug. 25, 2011.                            Inc. v. Midwhey Powder Co., Inc., 883 F.2d 1286, 1294
                                                                 (7th Cir.1989) (referring to the “general rule that motions
Attorneys and Law Firms                                          to strike are disfavored ... because motions to strike
                                                                 potentially serve only to delay”).
Kathryn D. Farmer, Joshua G. Miller, Rosenfeld Hafron
Shapiro & Farmer, Chicago, IL, for Petitioner.

Herman Joseph Marino, Herman J. Marino PC, Chicago,                                   DISCUSSION
IL, for Respondent.
                                                                 Respondent contends that the Amended Petition
                                                                 is improper because it contains legal conclusions,
              MEMORANDUM OPINION                                 arguments, and citations. Respondent argues that she
                                                                 cannot properly file an answer to the Amended Petition
SAMUEL DER–YEGHIAYAN, District Judge.                            in accordance with Federal Rule of Civil Procedure
                                                                 8(b) (Rule 8(b)) without having legal conclusions and
 *1 This matter is before the court on Respondent's
                                                                 arguments unintentionally deemed to be admitted.
motion to strike. For the reasons stated below, the motion
                                                                 Respondent requests that the Amended Petition be
to strike is granted in part and denied in part.
                                                                 stricken in its entirety, and requests in the alternative
                                                                 to have the legal conclusions and arguments stricken
                                                                 from the Amended Petition. Respondent contends that
                    BACKGROUND                                   Petitioner included legal conclusions, arguments, and
                                                                 citations in paragraph 9 (Paragraph 9), paragraph 12
Petitioner and Respondent were allegedly married in              (Paragraph 12), and paragraph 14 (Paragraph 14) of the
Chicago, Illinois in 1993 and are the parents of three minor     Amended Petition and in the footnotes in the Amended
children (Minors). Petitioner is the Minors' father and          Petition. (Reply 2).
Respondent is the Minors' mother. In 1998, the family
allegedly moved to Australia. In June 2010, the family           While, a plaintiff cannot simply rely on legal conclusions
traveled back to the United States allegedly with the            in pleading his case, and such legal conclusions are
intent of returning to Australia. Petitioner contends that       not accepted as true at the motion to dismiss stage, a
Respondent refused to return to Australia and instead            plaintiff is not barred from pleading legal conclusions
allegedly abducted the Minors and commenced a divorce            in an initial pleading. Ashcroft v. Iqbal, ––– U.S. ––––,
action in Chicago, Illinois. Petitioner filed the amended        ––––, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009);
petition (Amended Petition) in this case pursuant to the         Reynolds v. CB Sports Bar, Inc., 623 F.3d 1143, 1147
International Child Abduction Remedies Act, 42 U.S.C.            (7th Cir.2010) (stating that “a plaintiff is required to
§ 11601 et seq., seeking to have the Minors returned             plead more than bare legal conclusions to survive a
to Australia. Respondent moves to strike the Amended             motion to dismiss” and that a plaintiff must plead “factual
                                                                 material” and that the principle that allegations are


                                                                                                             FDAPP025
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accepted as true is “inapplicable to legal conclusions).            should be able to respond in accordance with Rule 8(b).
There is no explicit bar in the Federal Rules of Civil              In Paragraph 14 and the footnotes in the Amended
Procedure to the inclusion of legal conclusions in an initial       Petition, Petitioner has presented extensive legal citations
pleading, and, in presenting allegations regarding subject          and legal arguments, which are not appropriate for an
matter jurisdiction it is entirely appropriate to state legal       initial pleading, and which cannot be properly responded
conclusions with supporting facts.                                  to under Rule 8(b). Therefore, the court strikes Paragraph
                                                                    14 and the footnotes from the Amended Petition.
 *2 Pursuant to Rule 8(b) an opponent must respond
to all allegations in a pleading and if legal conclusions
included in an initial pleading can be responded to in                                    CONCLUSION
accordance with Rule 8(b), an opposing party must
respond to such allegations. See, e g.., Pavlik v. FDIC,            Based on the foregoing analysis, Respondent's motion to
2010 WL 3937621, at *3 (N.D.Ill.2010) (holding that even            strike Paragraphs 9 and 12 is denied and the motion to
legal conclusions must be responded to in an answer);               strike Paragraph 14 and the footnotes in the Amended
State Farm Mut. Auto. Ins. Co. v. Riley, 199 F.R.D.                 Petition is granted. Respondent is given until September 8,
276, 278 (N.D.Ill.2001) (referring to the “express Rule             2011 to answer the remaining allegations in the Amended
8(b) requirement that all allegations must be responded             Petition and, in addition, to submit a memorandum, not
to”) (emphasis in original). However, a pleading is not             to exceed 25 pages, in support of her position why the
the proper document in which to present extensive legal             Amended Petition should not be granted. The Petitioner is
arguments that belong in a legal memorandum. Legal                  given until September 15, 2011 to submit a memorandum,
arguments are not appropriate in an initial pleading if they        not to exceed 25 pages, in support of his position why
are such that they “cannot be answered by a ‘short and              the Amended Petition should be granted. The next status
plain’ admission, denial, or defense as contemplated by             hearing set for September 29, 2011, remains unchanged.
Fed.R.Civ.P. 8(b).” Norton–Griffiths v. Wells Fargo Home
Mortg., 2011 WL 884456, at *6 (D.Vt.2011).
                                                                    All Citations

In Paragraphs 9 and 12, Petitioner has alleged certain              Not Reported in F.Supp.2d, 2011 WL 3757314
facts and a few legal conclusions to which Respondent

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                                                                                                                    FDAPP026
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                                                              file a reply to the Motion. See ECF No. 36. Plaintiff
                                                              Walker–Cook filed her Reply on August 6, 2012. ECF No.
                  2012 WL 4461159
                                                              53. After careful review of the papers filed in this action
    Only the Westlaw citation is currently available.
                                                              and the applicable legal authority, the Court FINDS
       United States District Court, D. Hawai'i.
                                                              AND RECOMMENDS that the district court GRANT
          Michelle WALKER–COOK and                            IN PART AND DENY IN PART the Motion.
         Genevieve Marie Walker, Plaintiffs,
                        v.
             INTEGRATED HEALTH                                                    BACKGROUND
        RESOURCES, LLC, et al., Defendants.
                                                              This action arises from Plaintiff Genevieve Marie Walker's
              Civil No. 12–00146 ACK–RLP.                     stay as a resident of the Leeward Integrated Health
                            |                                 Services Nursing Home, now known as Puuwai O
                      Aug. 10, 2012.                          Makaha Nursing Home (“Nursing Home”), starting in
                                                              April 2011. Compl. ¶ 30. Plaintiff Walker–Cook held a
Attorneys and Law Firms                                       power of attorney for Plaintiff Walker, her mother, while
                                                              Plaintiff Walker was a resident in the Nursing Home.
Michelle Walker–Cook, Ewa Beach, HI, pro se.
                                                              Id. Plaintiffs allege that Defendants submitted multiple
Genevieve Marie Walker Ewa Beach, HI, pro se.                 bills for Plaintiff Walker's stay at the Nursing Home that
                                                              contained false excessive charges and that Defendants
Brett R. Tobin, Corlis J. Chang, Marissa Lei Lin Owens,       received payment for those bills. Id. ¶¶ 48–98. Plaintiffs
Honolulu, HI, for Defendants.                                 assert claims against Defendants for violations of the
                                                              Racketeer Influenced and Corrupt Organizations Act
                                                              (“RICO”), fraud, and intentional infliction of emotional
     FINDINGS AND RECOMMENDATIONS                             distress. Id. ¶¶ 111–166. Defendants timely answered the
    TO GRANT IN PART AND DENY IN PART                         Complaint on April 5, 2012. ECF No. 15. Plaintiffs filed
    PLAINTIFF MICHELLE WALKER–COOK'S                          the present Motion on April 26, 2012. ECF No. 19. On
      MOTION TO STRIKE DEFENDANTS'                            May 10, 2012, Defendants filed a motion to dismiss the
                                                              Complaint based on Plaintiffs' alleged failure to comply
        ANSWER AND CITED DEFENSES 1
                                                              with the Local Rules regarding complaints alleging RICO
1                                                             violations. See ECF No. 29. The motion to dismiss is set
       Within fourteen days after a party is served with
       a copy of the Findings and Recommendation,
                                                              for hearing before Senior District Judge Alan C. Kay on
       that party may, pursuant to 28 U.S.C. § 636(b)         October 1, 2012. ECF No. 30.
       (1)(B), file written objections in the United States
       District Court. A party must file any objections
       within the fourteen-day period allowed if that party
                                                                                     ANALYSIS
       wants to have appellate review of the Findings and
       Recommendation. If no objections are filed, no         Rule 12(f) of the Federal Rules of Civil Procedure
       appellate review will be allowed.
                                                              provides that the court “may strike from a pleading
                                                              an insufficient defense or any redundant, immaterial,
RICHARD L. PUGLISI, United States Magistrate                  impertinent, or scandalous matter.” Fed.R.Civ.P. 12(f).
Judge.                                                        A defense is insufficiently pleaded if it fails to give
                                                              the plaintiff fair notice of the nature of the defense.
 *1 Before the Court is Plaintiff Michelle Walker–
                                                              Wyshak v. City Nat'l Bank, 607 F.2d 824, 827 (9th
Cook's Motion to Strike Defendants' Answer and Cited
                                                              Cir.1979). “Redundant matter is defined as allegations
Defenses, filed on April 26, 2012 (“Motion”). ECF No. 19.
                                                              that constitute a needless repetition of other averments or
Defendants filed their Opposition on May 10, 2012. ECF
                                                              are foreign to the issue.” Sliger v. Prospect Mortg., LLC,
No. 29. On May 22, 2012, the Court granted Plaintiffs'
                                                              789 F.Supp.2d 1212, 1216 (E.D.Cal.2011) (quotations
request to extend the time for Plaintiff Walker–Cook to
                                                              and citations omitted). “Immaterial matter is that which


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has no essential or important relationship to the claim
for relief or the defenses being plead.” Fantasy, Inc. v.         1. Defendants' First Defense
Fogerty, 984 F.2d 1524, 1527 (9th Cir.1993) (quotations        Plaintiff Walker–Cook asks the Court to strike
and citations omitted), rev'd on other grounds by Fogerty      Defendants' first defense, which states that the Complaint
v. Fantasy, Inc., 510 U.S. 517 (1994). “Impertinent matter     fails to state a claim upon which relief can be granted.
consists of statements that do not pertain, and are            See Mot. at 18–19. Plaintiff Walker–Cook asserts that
not necessary, to the issues in question.” Id. Finally,        this “affirmative defense” is insufficient because it does
“[s]candalous matter improperly casts a derogatory light       not meet the standards articulated by the Supreme Court
on someone, most typically on a party to the action.”          in Bell Atlantic Corporation v. Twombly, 550 U .S. 554
Germaine Music v. Universal Songs of Polygram, 275             (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009). Mot. at
F.Supp.2d 1288, 1300 (D .Nev.2003) (quotations and             4, 11, 15–16; Reply at 6–7.
citations omitted).
                                                               As an initial matter, Defendants' first defense is not an
 *2 The purpose of a Rule 12(f) motion is to “avoid            affirmative defense. Defendants' first defense expressly
the expenditure of time and money that must arise from         states that Plaintiffs' allegations in the Complaint fail to
litigating spurious issues by dispensing with those issues     state a claim. “A defense which demonstrates that plaintiff
prior to trial.” Whittlestone, Inc. v. Handi–Craft Co., 618    has not met its burden of proof is not an affirmative
F.3d 970, 973 (9th Cir.2010) (quoting Fantasy, 984 F.2d        defense.” Zivkovic v. S.Cal. Edison Co., 302 F.3d 1080,
at 1527). Rule 12(f) motions are “generally regarded with      1088 (9th Cir.2002) (citing Flav–O–Rich v. Rawson Food
disfavor because of the limited importance of pleading         Serv., Inc., 846 F.2d 1343, 1349 (11th Cir.1988)). Defenses
in federal practice, and because they are often used           that negate an element of the plaintiffs' prima facie case
as a delaying tactic.” Kohler v. Islands Rests., LP, 280       “are excluded from the definition of affirmative defense in
F.R.D. 560, 563–64 (S.D.Cal.2012) (quoting Neilson v.          Federal Rule of Civil Procedure 8(c).” Flav–O–Rich, 846
Union Bank of Cal., N.A., 290 F.Supp.2d 1101, 1152             F.2d at 1349 (citing Ford Motor Co. v. Trans. Indem. Co.,
(C.D.Cal.2003)). As a result, “[m]atter will not be stricken   795 F.2d 538, 546 (6th Cir.1986)).
from a pleading unless it is clear that it can have no
possible bearing upon the subject matter of the litigation.”    *3 Even assuming that Defendants' first defense is
Clark v. State Farm Mut. Auto. Ins. Co., 231 F.R.D.            properly characterized as an affirmative defense, courts in
405, 406 (C.D.Cal.2005) (quoting Cal. Dep't of Toxic           this district have declined to extend the pleading standards
Substances Control v. Alco Pac., Inc., 217 F.Supp.2d 1028,     in Twombly and Iqbal to affirmative defenses. See, e.g.,
1033 (C.D.Cal.2002)).                                          Cape Flattery Ltd. v. Titan Maritime LLC, Civil No.
                                                               08–00482 JMS/KSC, 2012 WL 3113168 (D.Haw. July
Plaintiff Walker–Cook moves to strike six portions of          31, 2012). As the court stated, “the Ninth Circuit has
Defendants' Answer: (1) Defendants' first defense (Mot.        described the pleading standard for affirmative defenses
at 18–19); (2) Paragraphs 1, 2, and 3 of Defendants'           as a ‘fair notice’ standard, Wyshak v. City Nat'l Bank, 607
Answer (Mot. at 17–18, 19); (3) Defendants' third through      F.2d 824, 827 (9th Cir.1979), and has continued to apply
ninth defenses related to Plaintiffs' RICO claims (Mot.        this standard since Twombly and Iqbal.” Id. at *10 (citing
at 17, 18–20); (4) Defendants' thirteenth, fourteenth, and     Simmons v. Navajo Cnty., Ariz., 609 F.3d 1011, 1023 (9th
fifteenth defenses related to defamation (Mot. at 5–6); (5)    Cir.2010)).
Defendants' “restyling” of the named Defendants in their
Answer (Mot. at 13–14); and (6) Defendants' request for        Regardless of how Defendants' first defense is
attorneys' fees (Mot. at 15). Although                         characterized, there is no basis to strike it under Rule
                                                               12(f). As noted above, a defense is insufficient if it
Plaintiff Walker–Cook lists all of Defendants' defenses in     fails to give the plaintiff fair notice of the nature of
her Motion (see Mot. at 15), she only makes arguments in       the defense. See Wyshak, 607 F.2d at 827. Plaintiff
support of her request to strike these six specific portions   Walker–Cook has not demonstrated that Defendants'
of the Answer. Mot. at 15. The Court addresses each            first defense is insufficient under this standard. Plaintiff
contested portion of the Answer in turn.                       Walker–Cook mistakenly states that Rule 12(b) requires
                                                               an answer presenting this defense to include “a short,
                                                               concise statement of the grounds on which such defense is


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based.” See Mot. at 18 (purporting to quote Rule 12(b)).       have knowledge as to the information necessary to form
However, no such requirement appears in the Federal            a belief as to the allegations of Paragraphs 1 and 3” of
Rules of Civil Procedure. See Fed.R.Civ.P. 12. Rather,         the Complaint if “Defendants[ ] had simply picked up and
Rule 8(b) provides that a defendant must “state in short       read the Plaintiff's [sic] complaint, they would have clearly
and plain terms its defenses to each claim asserted against    understood” the nature of the allegations in paragraphs 1,
it” in its answer. Fed.R.Civ.P. 8(b)(1)(A). Defendants'        2, and 3. Mot. at 18.
Answer contains specific responses to the allegations in the
Complaint and provides specific defenses to the six counts     There is no basis to strike paragraph 2 of the Answer
asserted by Plaintiffs. See Answer ¶¶ 67–94, 95–103. The       under Rule 12(f). These responses are not redundant,
Court will not address the substantive arguments made by       immaterial, impertinent, or scandalous. Taking the
the parties regarding the sufficiency of claims alleged in     Answer as a whole, Defendants have made specific
the Complaint. See Opp. at 6–7; Reply at 3–6. However,         admissions and denials of the allegations in each
the Court finds that Defendants' first defense is sufficient   paragraph in addition to their statements regarding
for purposes of surviving a Rule 12(f) motion to strike.       the statutes and legal conclusions alleged by Plaintiffs
Accordingly, the Court FINDS AND RECOMMENDS                    in paragraph 1, 2, and 3 of the Complaint. In these
that the district court DENY Plaintiff Walker–Cook's           circumstances, there is no basis to strike paragraph 2
request to strike Defendants' first defense.                   of Defendants' Answer. See, e.g., Guifu Li v. A Perfect
                                                               Franchise, Inc., No. 5:10–CV–01189–LHK, 2011 WL
                                                               2971046, at *3 (N.D.Cal. July 21, 2011) (denying plaintiffs'
  2. Paragraph 2 of Defendants' Answer                         motion to strike defendants' answer, which stated that the
Second, Plaintiff Walker–Cook asks the Court to strike         complaint contained legal conclusions that required no
paragraph two of Defendants' Answer, which responds to         answer, because the defendant also denied specific factual
paragraphs 1, 2, and 3 of the Complaint. Paragraphs 1, 2,      allegations elsewhere in the answer); Sykes v. Cigna Life
and 3 of the Complaint provide:                                Ins. Co., No. C 10–01126 CRB, 2010 WL 3324261, at
                                                               *3 (N.D.Cal. Aug. 23, 2010) (similarly denying plaintiff's
  1. This is a federal question case. This Court has
                                                               motion to strike defendant's responses in its answer
  jurisdiction of the claims herein pursuant to 18
                                                               that “the documents speak for themselves” and that
  U.S.C.A. § 1964(a), (c), and 28 U .S.C.A. § 1331. This
                                                               denied plaintiff's legal conclusions). The Court FINDS
  Court also has supplemental jurisdiction over Plaintiffs'
                                                               AND RECOMMENDS that the district court DENY
  state law claims under 28 USC § 1367 as these claims are
                                                               Plaintiff Walker–Cook's request to strike paragraph 2 of
  intricately related to Plaintiffs' RICO claim and form
                                                               Defendants' Answer.
  part of the same case or controversy.

  2. This civil action arises under the laws of the
                                                                  3. Defendants' Third Through Ninth Defenses Related
  United States. Plaintiffs are alleging violations of their
                                                                  to Plaintiffs' RICO claim
  rights under Title IX of the Organized Crime Control
                                                               Plaintiff Walker–Cook requests that the Court strike
  Act of 1970, as amended, 18 U.S.C.A. §§ 1961 et
                                                               Defendants' third through ninth “affirmative defenses.”
  seq. (“RICO”), 1962(a),(b),(c) and arising under the
                                                               Mot. at 17, 18–20. Each of these defenses state that
  Americans With Disabilities Act of 1990, 42 U.S.C. §§
                                                               Plaintiffs have failed to sufficiently allege an element
  12101 et seq. (“ADA”)
                                                               of the prima facie case for stating a RICO violation.
   *4 3. Venue is proper in the U.S. District Court for the    See Answer ¶¶ 95–103. As discussed above, defenses
  District of Hawaii pursuant to applicable law including,     that challenge the prima facie elements of a plaintiffs'
  but not limited to, 18 U.S.C. § 1965(a), (b),(c) and 28      claims are not affirmative defenses. Zivkovic, 302 F.3d at
  U.S.C. § 1391(b), (c)....                                    1088. Regardless of their characterization, these defenses
                                                               are not insufficient. Each of these defenses address a
Compl. ¶¶ 1–3. In responding to these paragraphs,              particular element of Plaintiffs' RICO claims and state
Defendants “state that the statutes speak for themselves”      that Plaintiffs have failed to meet that requirement. These
and that “these allegations call for legal conclusions to      defenses provide fair notice to Plaintiffs of the defense
which no response is required.” Answer at 3. Plaintiff         asserted. See Wyshack, 607 F.2d at 827. Accordingly,
Walker–Cook argues that “Defendants have or should             the Court FINDS and RECOMMENDS that the district


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court DENY Plaintiff Walker–Cook's request to strike             Services, Inc. (“LIHS, Inc.”) Id. Defendants state that
Defendants' third through ninth defenses.                        LIHS, Inc. is an unrelated legal entity from another
                                                                 defendant, Integrated Health Resources LLC. Opp. at 8–
                                                                 9. However, Defendants do not explain the relationship,
   4. Defendants' Thirteenth, Fourteenth, and Fifteenth          if any, between LIHS, Inc. and LIHS. See Opp. at 8–
   Defenses Related to Defamation                                9. Defendants assert that LIHS, Inc. originally built and
 *5 Plaintiff Walker–Cook requests that the Court strike         operated the Nursing
Defendants' defenses related to defamation. Mot. at 5–
6. Plaintiff Walker–Cook asserts that these defenses are         Home, but has not exercised control over the operation
immaterial because “this is not a cause of action that           of the Nursing Home since 2003, and therefore is not a
pleads defamation and/or libel and/or slander.” Mot. at          “proper party” to this litigation. Opp. at 9.
6. Although Plaintiffs may not have intended to assert
a claim for defamation against Defendants, paragraph             The Court finds that Defendants' unilateral substitution
108 of the Complaint contains statements allegedly made          of LIHS for LIHS, Inc. is immaterial and impertinent
by Defendant Barton and asserts that these statements            to the defenses being pleaded and should be stricken
are “actionable as defamation.” Compl. ¶ 108. Because            from Defendants' Answer. Defendants have improperly
Plaintiffs' Complaint contains allegations regarding             attempted to substitute LIHS for a separate, unrelated
defamation, Defendants' defenses regarding defamation            legal entity. The Court recognizes that it may be
are not immaterial. Accordingly, the Court FINDS AND             appropriate in certain circumstances to answer a
RECOMMENDS that the district court DENY Plaintiff                complaint on behalf of a defendant “sued erroneously”
Walker–Cook's request to strike Defendants' thirteenth,          under another name if the plaintiff misspelled the
fourteenth, and fifteenth defenses.                              defendant's name or mistakenly named a closely related
                                                                 entity. However, here there appear to be two separate,
                                                                 unrelated legal entities involved: LIHS and LIHS, Inc.
  5. Defendants' “Restyling” of the Named Defendants
                                                                 Plaintiffs chose to name LIHS, Inc. in their lawsuit.
Plaintiff Walker–Cook requests that the Court strike
                                                                 Although Defendants may disagree with that choice,
Defendants' “restyling” of the named Defendants in their
                                                                 Plaintiffs are entitled to proceed against the defendants
Answer. Mot. at 13–14. Plaintiffs name eight defendants
                                                                 that they choose. If Plaintiffs have named the “wrong
in their Complaint: Integrated Health Resources, LLC;
                                                                 party,” as Defendants' argue, such issues are properly
Leeward Integrated Health Services, Inc.; Ohana Pacific
                                                                 resolved through an appropriate motion and not through
Management Company, Inc.; Puuwai O Makaha Nursing
                                                                 the unilateral substitution of a defendant in the Answer.
Home; Randall Hata; Therese Campos; Susan Hirao;
                                                                 Allowing Defendants' Answer to proceed on behalf of
and Jackie Barton. Compl. at 1–2. In answering the
                                                                 LIHS sued erroneously as LIHS, Inc. would potentially
Complaint, Defendants answered on behalf of seven
                                                                 prejudice Plaintiffs and confuse the issues regarding the
of the named defendants and on behalf of “Leeward
                                                                 proper parties to this litigation. See Fantasy, 984 F.2d
Integrated Health Services sued erroneously herein as
                                                                 at 1527–28. The Court FINDS AND RECOMMENDS
Leeward Integrated Health Services, Inc.” Answer at 2. 2         that the district court GRANT Plaintiff Walker–Cook's
                                                                 request to strike Defendants' Answer to the extent the
2     The Court notes that, contrary to Plaintiffs'              Answer purports to respond to the Complaint on behalf
      assertions, Defendants do not change the caption           of “Leeward Integrated Health Services sued erroneously
      of this case in their Answer. The caption reflects         herein as Leeward Integrated Health Services, Inc.”
      the same eight defendants named by Plaintiffs in
      their Complaint. See Answer at 1–2. Additionally, no
      change in the parties' names is reflected on the docket.     6. Defendants' request for attorneys' fees
In their Opposition, Defendants assert that they                  *6 Plaintiff Walker–Cook asks the Court to strike
identified the proper party by answering on behalf of            Defendants' request for attorneys' fees. Mot. at 15.
Leeward Integrated Health Services (“LIHS”). Opp. at             Defendants' Answer contains a prayer for relief, which
9. Defendants argue that Plaintiffs named “the wrong             includes a request that the court award Defendants
party” when they sued Leeward Integrated Health                  their costs, expenses, and attorneys' fee. See Answer
                                                                 at 26. Plaintiff Walker–Cook argues that Defendants'


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                                                                   2. DENY Plaintiff Walker–Cook's request to strike
request for attorneys' fees fails to comply with Rule
                                                                   paragraph 2 of Defendants' Answer.
8, is a conclusory legal assertion, and lacks factual
support. Mot. at 17. Under Rule 12(f), the court's
                                                                   3. DENY Plaintiff Walker–Cook's request to strike
inquiry is limited to whether the statement constitutes
                                                                   Defendants' third through ninth defenses.
either an insufficient defense, or a redundant, immaterial,
impertinent, or scandalous matter. Plaintiff Walker–Cook
                                                                   4. DENY Plaintiff Walker–Cook's request to strike
does not explain how the request for attorneys' fees
                                                                   Defendants' thirteenth, fourteenth, and fifteenth defenses.
fits into any of these categories. To the extent Plaintiff
Walker–Cook is arguing that Defendants are not entitled
                                                                   5. GRANT Plaintiff Walker–Cook's request to strike
to attorneys' fees as a matter of law, Rule 12(f) is not
                                                                   Defendants' Answer to the extent the Answer purports
the appropriate vehicle. Whittlestone, 618 F.3d at 971
                                                                   to respond to the Complaint on behalf of “Leeward
(“Rule 12(f) does not authorize a district court to strike a
                                                                   Integrated Health Services sued erroneously herein as
claim for damages on the ground that such damages are
                                                                   Leeward Integrated Health Services, Inc.”
precluded as a matter of law.”). The Court FINDS AND
RECOMMENDS that the district court DENY Plaintiff
                                                                   6. DENY Plaintiff Walker–Cook's request to strike
Walker–Cook's request to strike Defendants' request for
                                                                   Defendants' request for attorneys' fees.
attorneys' fees.

                                                                   7. GRANT Defendants leave to file an amended answer in
                                                                   conformity with this decision within 20 days of the district
                     CONCLUSION                                    court's adoption of this Findings and Recommendation.

The Court FINDS AND RECOMMENDS that the
                                                                   IT IS SO FOUND AND RECOMMENDED.
district court GRANT IN PART AND DENY IN PART
Plaintiff Walker–Cook's Motion as follows:
                                                                   All Citations
1. DENY Plaintiff Walker–Cook's request to strike
Defendants' first defense.                                         Not Reported in F.Supp.2d, 2012 WL 4461159



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                                                                 is redundant as it is primarily comprised of defendant
                                                                 McCoy's asserted defenses rather than responses to
                  2013 WL 6504685
                                                                 plaintiff's factual allegations. (Doc. 42). Plaintiff further
    Only the Westlaw citation is currently available.
                                                                 asserts striking the answer is necessary because defendant
             United States District Court,
                                                                 McCoy failed to timely serve the answer on him. (Doc. 44).
                      S.D. Ohio,
                  Western Division.
                                                                 In opposition, defendant McCoy contends that the
          Jimmie L. WASHINGTON, Plaintiff,                       pleading is not subject to dismissal under Fed.R.Civ.P.
                         v.                                      12(f) as there is no legal support for plaintiff's conclusory
             C/O John McCOY, Defendant.                          assertions that it is scandalous and redundant. Further,
                                                                 defendant McCoy notes that striking portions of a
                     No. 1:12–cv–628.                            pleading is a drastic and disfavored remedy. Defendant
                             |                                   thus requests that plaintiff's motions be denied. (Doc. 44).
                      Dec. 11, 2013.
                                                                 Rule 12(f) permits courts to strike “an insufficient defense
Attorneys and Law Firms                                          or any redundant, immaterial, impertinent, or scandalous
                                                                 matter.” Fed.R.Civ.P. 12(f). However, motions to strike
Jimmie L. Washington, Lucasville, OH, pro se.
                                                                 are generally disfavored and should be used sparingly and
Thomas Clarke Miller, Ohio Attorney General's Office,            only in cases where the material at issue has “no possible
Columbus, OH, for Defendant.                                     relation to the controversy.” Anderson v. U.S., 39 F. App'x
                                                                 132, 135 (6th Cir.2002) (quoting Brown v. Williamson
                                                                 Tobacco Corp. v. U.S., 201 F.2d 819, 822 (6th Cir.1953)).
                                                                 Nevertheless, it is well-established that district courts
ORDER AND REPORT AND RECOMMENDATION
                                                                 have inherent power to control their own docket; this
KAREN L. LITKOVITZ, United States Magistrate                     power includes “determining whether to strike documents
Judge.                                                           or portions of documents.” Getachew v. Central Ohio
                                                                 Transit Authority, No. 2:11–cv–860, 2013 WL 819733, at
 *1 Plaintiff, an inmate at the Southern Ohio Correctional       *2 (S.D.Ohio Mar.5, 2013) (citing Anthony v. BRT Auto.
Facility (SOCF) proceeding pro se, brings this prisoner          Sealing Sys., 339 F.3d 506, 516 (6th Cir.2003)); see also In
civil rights action under 42 U.S.C. § 1983 against               re Prevot, 59 F.3d 556, 566 (6th Cir.1995).
defendant C/O John McCoy (McCoy) alleging McCoy
used excessive force against him in violation of his             Plaintiff has provided no support for his contention
constitutional rights. This matter is before the Court           that defendant McCoy's pleading is either scandalous or
on: (1) plaintiff's motions to strike defendant's answer         redundant as a matter of law. Rather, plaintiff argues
(Docs.42, 46) and defendant's response in opposition             that the answer is “scandalous” because “it never directly
(Doc. 44); (2) plaintiff's motion for a temporary                denies the allegation neither does it give admittance
restraining order (Doc. 47); (3) plaintiff's motion to           thereby being scandalous.” (Doc. 42 at 1). A review of
withdraw his motion for a temporary restraining order            defendant McCoy's pleading demonstrates, contrary to
and motion to strike the withdrawal motion (Docs.49,             plaintiff's assertion, that defendant McCoy admitted and
50); (4) plaintiff's motions to take deposition upon written     denied where he was able to based upon his knowledge and
questions (Docs.51, 52); (5) plaintiff's motion to transfer      information. See Doc. 37, ¶¶ 1–4, 6–7, 13, 17. As to the
(Doc. 53); and (6) plaintiff's motion for an order to show       remaining allegations, defendant McCoy answers that he
cause. (Doc. 55).                                                is without sufficient knowledge and information to either
                                                                 admit or deny the allegation or that the allegation contains
                                                                 legal conclusions that do not require a response. Id. at ¶¶
   I. Plaintiff's Motions to Strike (Docs.42, 46)                5, 8–12, 14–16. As a review of the answer demonstrates
Plaintiff moves to strike defendant John McCoy's answer          that defendant McCoy responded to plaintiff's allegations
to plaintiff's complaint (Doc. 37) under Federal Rule of         as required by Federal Rule of Civil Procedure 8(b), the
Civil Procedure 12(f), asserting that it is scandalous as        Court finds that plaintiff's characterization of the pleading
it fails to admit or deny the complaint's allegations and


                                                                                                               FDAPP032
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as “scandalous” is without merit and his motion to strike        employees harassed and threatened him. (Doc. 50 at 2).
in this regard is denied.                                        Plaintiff's affidavit includes a request for a transfer to
                                                                 another correctional institution. (Id.). Plaintiff's motions
 *2 Likewise, plaintiff has provided no legal authority or       for injunctive relief are not well-taken.
support for his assertion that defendant McCoy's answer
is “redundant” because “[i]t set forth defenses to cover         1       While plaintiff's motions are titled “Motion to
all grounds instead of the issue at hand ....“ (Doc. 42                  Strike,” the Court construes them as motions to
at 1). Federal Rule of Civil Procedure 8 provides that                   withdraw.
a party responding to a pleading must set forth “in
                                                                 In determining whether to issue an a preliminary
short and plain terms its defenses to each claim asserted
                                                                 injunction or temporary restraining order, this Court must
against it....” Fed.R.Civ.P. 8(b)(1)(A). In light of this
                                                                 balance the following factors:
requirement, the Court finds that defendant McCoy's
pleading appropriately sets forth both general and specific          1. Whether the party seeking the injunction has shown
defenses to plaintiff's allegations against him. Plaintiff's            a “strong” likelihood of success on the merits;
motion to strike the pleading as “redundant” is thus
denied.                                                              2. Whether the party seeking the injunction will suffer
                                                                        irreparable harm absent the injunction;
To the extent that plaintiff asserts the pleading should
                                                                     3. Whether an injunction will cause others to suffer
be stricken for untimeliness, his motion is not well-taken.
                                                                        substantial harm; and
Plaintiff's complaint was served upon defendant McCoy
on July 19, 2013. (Doc. 39). Consequently, defendant                 4. Whether the public interest would be served by a
McCoy's answer was due by August 9, 2013. Fed.R.Civ.P.                  preliminary injunction.
12(A)(i). Defendant McCoy filed his answer with the
Court on August 8, 2013 (Doc. 37) and plaintiff admits he        Northeast Ohio Coalition for Homeless and Srv. Employees
was served on August 9, 2013. (Doc. 46 at 2). Plaintiff's        Inter. Union, Local 1199 v. Blackwell, 467 F.3d 999, 1009
assertion that the answer was to be filed and served upon        (6th Cir.2006); Leary v. Daeschner, 228 F.3d 729, 736
him by August 8, 2013, is without any support in the             (6th Cir.2000); United Food & Commercial Workers Union,
record.                                                          Local 1099 v. Southwest Ohio Regional Transit Authority,
                                                                 163 F.3d 341, 347 (6th Cir.1998); Southern Milk Sales, Inc.
For the above reasons, plaintiff's motions to strike             v. Martin, 924 F.2d 98, 103 n. 3 (6th Cir.1991). The four
(Docs.42, 46) are DENIED.                                        factors are not prerequisites, but must be balanced as part
                                                                 of a decision to grant or deny injunctive relief. Blackwell,
                                                                 467 F.3d at 1009; Leary, 228 F.3d at 736; Performance
  II. Motions Related to Plaintiff's Motion for a                Unlimited v. Quester Publishers, Inc., 52 F.3d 1373, 1381
  Restraining Order (Docs.47, 49, 50)                            (6th Cir.1995).
Plaintiff filed an “Order for Temporary Restraining
Order” which the Court construes as plaintiff's motion            *3 Plaintiff has presented no evidence demonstrating
for a restraining order, wherein plaintiff requests that         that he has a substantial likelihood of success on the
the Court enter an order requiring plaintiff's transfer to       merits of his claim or that he will suffer irreparable harm
another institution and that defendant McCoy and other
                                                                 should his motions be denied. 2 Plaintiff's declarations
employees at the SOCF be “restrained” from plaintiff.
                                                                 under 28 U.S.C. § 1746 do not contain facts demonstrating
(Doc. 47). Plaintiff subsequently moved to withdraw
                                                                 that plaintiff is entitled to a restraining order or transfer
his motion, representing that he is no longer in fear
                                                                 from the SOCF. Moreover, plaintiff's motions relate to
for his safety from defendant McCoy. (Doc. 49). The
                                                                 alleged retaliatory acts which have already occurred. “[A]
following day, plaintiff filed a “Motion to Strike His
                                                                 temporary restraining order is not the proper mechanism
Motion to Strike Temporary Protection Order and to
                                                                 for remedying past violations yet to be proven.” Brown
Proceed with his Request for an Order for Protection
                                                                 v. Voorhies, No. 1:07cv463, 2009 WL 4331157, at *1
Order.” (Doc. 50). 1 This motion was accompanied by an           (S.D.Ohio Nov.30, 2009) (Beckwith J.) (citing Procter &
affidavit wherein plaintiff represents that unknown SOCF         Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 226 (6th


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Cir.1996)). This is precisely the remedy plaintiff seeks         which the Court will construe a motion for injunctive
—a restraining order to address alleged constitutional           relief. See Doc. 55. Plaintiff seeks entry of an order
violations which have already taken place. As the relief         enjoining defendant and others from harassing and
requested is improper given the instant circumstances and        retaliating against plaintiff and from withholding his legal
as the evidence submitted by plaintiff fails to demonstrate      work; plaintiff also seeks transfer to another correctional
either that he has a substantial likelihood of success based     facility, namely the Ohio State Penitentiary. (Id. at 1).
on the merits of his constitutional claim or that he will        Plaintiff argues that a temporary restraining order is
suffer irreparable harm absent a Court order, plaintiff's        appropriate because: (1) there is a strong likelihood that
motions for restraining orders (Docs.47, 50) should be           he will be successful at trial in showing a violation
DENIED. Plaintiff's motion to withdraw his motion for a          of his constitutional rights based on the pleadings and
restraining order (Doc. 49) is DENIED as moot.                   discovery in the instant case; (2) based on his affidavit,
                                                                 there is evidence that plaintiff will suffer irreparable
2      The undersigned notes that plaintiff has been put         harm absent entry of the order; (3) plaintiff will suffer
       on notice previously as to the necessary showing for      psychological and physical injury if SOCF officials are
       obtaining injunctive relief. See Doc. 23 at 3–5; Doc.     not restrained from harassing him; and (4) the public
       32 at 2–3.                                                interest is served by entry of the order as the transfer to
                                                                 the Ohio State Penitentiary will not result in a reduction
  III. Plaintiff's Motions to Take Depositions Upon              of plaintiff's current security level or status. (Doc. 55 at
  Written Questions (Docs.51, 52)                                4). Plaintiff supports his motion with an affidavit wherein
Plaintiff moves to take the depositions of defendant             he attests that “C/O Fry” called him a “snitch” and
McCoy and witness Larry Green by written question                other correctional officers threatened plaintiff for filing
pursuant to Federal Rule of Civil Procedure 31. (Docs.51,        the instant lawsuit against defendant McCoy. (Id. at 6).
52). Plaintiff has submitted the questions he seeks to           Plaintiff further supports his motion with the declaration
present to defendant McCoy (Doc. 51 at 2–4) and Mr.              of fellow SOCF inmate Marc. A. Crockett, who declares
Green. (Doc. 52 at 2–4). Attached to plaintiff's motion          that he overheard the above name-calling and threats. (Id.
for summary judgment filed on November 21, 2013 (Doc.            at 7).
54), are the sworn answers by defendant McCoy and
witness Green to the questions propounded by plaintiff.           *4 This Court finds that plaintiff has not alleged facts
Therefore, plaintiff's motions (Docs.51, 52) are DENIED          sufficient to warrant an injunction. Plaintiff's requests
as moot.                                                         to enjoin non-party SOCF employees should be denied
                                                                 for several reasons. First, the affidavits filed by plaintiff
                                                                 are insufficient for purposes of granting his request for
   IV. Plaintiff's Motion to Transfer (Doc. 53)                  injunctive relief as both rely on inadmissible hearsay.
Plaintiff moves for a transfer from SOCF to the Ohio State       Second, the claims of threats and harassment by non-
Penitentiary on the ground that an unknown correctional          parties raised in the motion are unrelated to the excessive
officer at SOCF recently sprayed him with pepper spray           use of force claim in the complaint. “The purpose of a
while he was behind “2 slammer cell doors.” (Doc. 53).           preliminary injunction is merely to preserve the relative
Plaintiff's motion to transfer seeks both a court order          positions of the parties until a trial on the merits can
restraining SOCF employees and a transfer to another             be held.” Certified Restoration Dry Cleaning Network,
correctional facility. Plaintiff has presented no evidence       L.L.C. v. Tenke Corp., 511 F.3d 535, 542 (6th Cir.2007)
in support of his motion. Accordingly, for the reasons           (quoting Univ. of Texas v. Camenisch, 451 U.S. 390, 395,
stated above in connection with plaintiff's motion for a         101 S.Ct. 1830, 68 L.Ed.2d 175 (1981)). Plaintiff has
restraining order, plaintiff's motion to transfer (Doc. 53)      requested the Court to enjoin individuals who are not
should be DENIED.                                                parties to this lawsuit and he seeks relief that is unrelated
                                                                 to the excessive use of force claim in his complaint. See
                                                                 Atakpu v. Lawson, No. 1:05–cv–524, 2006 WL 3803193,
   V. Plaintiff's Motion for Show Cause Order (Doc. 55)
                                                                 at *l–2 (S.D.Ohio Nov. 28, 2006) (Spiegel, J.) (prisoner's
Plaintiff has filed an “Order to Show Cause for An
                                                                 motion for injunctive relief for harassment and retaliation
(sic) Temporary Restraining Order,” which is styled
                                                                 denied as unrelated to prisoner's complaint, which alleged
as a proposed order and a supporting memorandum,


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denial of adequate medical care). Plaintiff cannot use           Further, IT IS ORDERED THAT plaintiff's motions to
his standing in this lawsuit to litigate unrelated claims        strike defendants' answer (Docs.42, 46) are DENIED;
against non-parties. Plaintiff's assertions do not support       plaintiff's motion to withdraw his motion for a temporary
the issuance of an injunction in this matter.                    restraining order (Doc. 49) is DENIED as moot; and
                                                                 plaintiff's motions to take depositions upon written
For these reasons, plaintiff's motion for a temporary            questions (Docs.51, 52) are DENIED as moot. In the
restraining order (Doc. 55) should be DENIED.                    event plaintiff is able to proceed with the depositions upon
                                                                 written questions, plaintiff is ORDERED to notify the
                                                                 Court upon submitting his notices of depositions.
  VI. Conclusion
For the reasons stated herein, IT IS RECOMMENDED
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THAT plaintiff's motions for temporary restraining
orders (Docs.47, 50, 53, 55) should be DENIED.                   Not Reported in F.Supp.2d, 2013 WL 6504685


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                                                               Rule 12(f) of the Federal Rules of Civil Procedure governs
                                                               motions to strike pleadings and provides, in part, that:
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    Only the Westlaw citation is currently available.            (f) Motion to Strike. The court may strike from a
             United States District Court,                       pleading an insufficient defense or any redundant,
                 M.D. Pennsylvania.                              immaterial, impertinent, or scandalous matter.
             David WATTIE–BEY, Plaintiff,                      Fed. R.Civ. P. 12(f).
                         v.
             STEPHENS AND MICHAELS                             While rulings on motions to strike rest in the sound
               ASSOCIATES, Defendant.                          discretion of the court, Von Bulow v. Von Bulow, 657
                                                               F.Supp. 1134, 1146 (S.D.N.Y.1987), that discretion is
                  Civil No. 1:13–CV–396.                       guided by certain basic principles. Because striking a
                              |                                pleading is viewed as a drastic remedy, such motions
                       May 24, 2013.                           are “generally disfavored.” Kaiser Aluminum & Chemical
                                                               Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045,
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                                                               1057 (5th Cir.1982). As one court has aptly observed:
David Wattie–Bey, Harrisburg, PA, pro se.                      “striking a party's pleadings is an extreme measure, and,
                                                               as a result, ... ‘[m]otions to strike under Fed.R.Civ.P.
Kenneth A. Wise, Graybill & Wise, P.C., Harrisburg, PA,        12(f) are viewed with disfavor and are infrequently
for Defendant.                                                 granted.’ Lunsford v. United States, 570 F.2d 221, 229
                                                               (8th Cir.1977) (citing 5 Wright & Miller, Federal Practice
                                                               and Procedure. Civil § 1380 at 783 (1969)). See also
               MEMORANDUM ORDER                                Resolution Trust Corp. v. Gibson, 829 F.Supp. 1103, 1106
                                                               (W.D.Mo.1993); 2 James Wm. Moore et al., Moore's
MARTIN C. CARLSON, United States Magistrate                    Federal Practice § 12.37[1] (3d ed.2000).” Stanbury Law
Judge.                                                         Firm v. I.R.S., 221 F.3d 1059, 1063 (8th Cir.2000). In
                                                               practice, courts should exercise this discretion and strike
 *1 This is a pro se consumer protection action, brought
                                                               pleadings only when those pleadings are both “redundant,
by David Wattie–Bey. The plaintiff has filed a motion
                                                               immaterial, impertinent, or scandalous” and prejudicial to
to strike in this matter, (Doc. 14.), which complains
                                                               the opposing party. Ruby v. Davis Foods, Inc., 269 F.3d
that the defendant's answer contains certain items of
                                                               818, 820 (7th Cir.2001).
surplusage, such as demands for proof of the plaintiff's
allegations, a prayer for recovery of attorney's fees by the
                                                               In this case, upon consideration of the motion to strike,
defendant, and averments that certain statements made by
                                                               and given the defendant's acknowledgment that the
the plaintiff in his complaint are legal conclusions, as to
                                                               answer's demand for proof is surplusage, the motion
which no response is required. (Id.)
                                                               will be GRANTED, in part, and these averments will
                                                               be treated as surplusage, with the understanding that
At the case management conference held in this matter,
                                                               the plaintiff must ultimately prove what is alleged in
the parties addressed this motion, and the defense counsel
                                                               the complaint. Therefore, for the foregoing reasons, the
agreed that the demands for proof set forth in the answer
                                                               plaintiff's motion to strike (Doc. 14.), is GRANTED, in
were surplusage. The court also explained to the plaintiff
                                                               part.
that the answer's averments that certain statements made
by the plaintiff in his complaint are legal conclusions, as
                                                               *2 So ordered.
to which no response is required, is not a disparagement
of the complaint but simply an acknowledgment that the
legal claims in the complaint do not require a response.       All Citations

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